IN THE UNITEI) STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

 

oHARLorrEonnMoN
CR~ss-ez-oi
‘WAYNEPoannL
Petitioner,
' Mo'noN FoR ADJUDICATIoN
vs. AND AMENDMENT ro note

35 MOTION

UNI`TED STATES- OF AMER§CA,
Respondent.

 

 

Waync Porter, the movant herein and in pro se submits this motion to the Honorabie Court to
amend ins Rnie 35 Motion now pending before the Court, and for innnediate adjudication of ins
present claim that has lie dormant in the Western District of North Caroiina since lanuary 26,
2007F `

On .iuiy i, 2010, Porter was informed by retained counsel that they had fried another Rule 35
l\/lorion on his behalf This motion too ~ With the blessings of Porter’s retained counsei‘s silenceq

has just disappeared iike a helium bailoon into thin air.
STANDARD OF REVIEW

In detczroining whether separate punishments imposed in two separate proceedings arc
unconstitutional, is no different than determining Wiiether two separate statutory provisions describe
tire same offense Unifed Sfates v. Dr'xon, 509 US 688, 126 L.Ed.Zd 556, 113 S. Ct. 2849 (`1993').

Tiie dispositive question is whether each provision requires proof of fact Which the other does nct.

 

1 See Ruie 60(1)) Motion attached hereto and incorporated herein by reference as Exliii)it A.

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Albernaz v. Um`ted States, 450 US 333, 67 L.Ed.2d 275, 101 S. Ct. 1139 (1981) (quoting
Bloc!cburger).

STATEMENTS OF THE FACTS

Porter is presently serving 79 years for the CCE conviction in the Western District of North
Carolina ~ not 75 _years.2 ’fitie 18 U.S.C. § 3584(€) required the Bin~eau of Prisons, for
administrative purposes to add What time Porter had remaining on his prior 10 year sentence for

conspiracy out of the Middle District'of Florida prosecution, to the 75 year CCE sentence:

Ori Novernber 6, l985, Porter received an additional 75~
year sentence front the Western District of North
Carolina. The sentence is a 21~848~C0ntinuing Crirninal
Enterprise sentence, thus nonparolable. With his prior
sentence_. Porrer has a total cf 79 years...

jul Bureau of Prisons Progress Report at page 2. Furtherinore, the district court for the Western
District of North Carolina, enhanced Porter’s second sentence, because of Porter’s prior conspiracy

conviction:

Count 41 Five (5) years to ron consecutive vvitli the sentence imposed in Count 2 plus
a four (4) year mandatory special parole term dire to aprz'or cc)m)ictr`oit3

Porter is the only defendant the courts have ever required to serve consecutive sentences for
conspiracy (`§ 846) and Continuing Crirninal enterprise (§ 848). No other court has ever upheld such
a flagrant double jeopardy vioiation. If Porter cannot have even concurrent sentences for the “first”
of the "continuing series"’ of conspiracy predicate acts - how could he have consecutive 10 year
sentence for the "`last”?

Porter’s Rule 35 Motion does not address the Fourth Circuit Court of Appeals iio§ding in
limited Stcrte.r v. Cole, 293 F. 3d l53 (2002), that Gcrrf'e{r v. Um'led Srclle.s. 74§ U.S. 773, 105 S. Ct.

 

2 Sce Un§tcd States Department of instice Bureau of Prisons Progress Report for Wayne Poiter attached hereto and
incorporated herein by reference as Exhibit B.
" .| uclgmeut for the Western District of Nortl: Carolina, attached hereto and incorporated herein by reference as E)<hibit
C.`..

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2407, 85 L. Ed. 2d 764 (i985); and United Srares v. Felix, 503 US 378, 112 S. Ct. 1377, 118 L. Ed.
2d 25 (1992), have supplanted the Biockburger v. Um.`ted Srares. 248 US 299, 52 S. Ct. 180, 76 L.
Ed. 2d 306 (1932), “same elements” test, with a novel “multilayered conduct” test that applies to
complex crime cases. Cf e.g., Cole, where the court held: “"i`he Florida conspiracy charge and the
instant CCE conviction are not the ‘same offense’ under Blockburger because the criminal activity
at issue here is so muitiiayered." Id. 293 F. 3d at 162 n. 4, and United Srares v. Crosby, 20 F, 3d 480
(D.C. Cir. 1994), “[w]e iii<e the Gczrrett Court, decline to apply here the so~cailed “Blockbw”ger
test...” ld. at 483 n. 9; because: “[w]e conclude the appellant’s earlier prosecution for single
predicate acts, whatever their double jeopardy effect might be on subsequent prosecutions for
overlapping single offenses or even for section 846 conspiracy presents no bar to the.present
prosecution under counts 1, 2 and 4. As the Court made clear in Gorrert_. multi-layered conduct
offenses such as CCE. . .violations are generically distinct in the double jeopardy arcna.” (emphasis
added`), Id. at 485.

To begin with, the courts in Cole and Crosby Were nor confronted With the constitutionaiity of
imposing cumulative penalties for conspiracy and CCE convictions Although, the implications of
their findings are the same Because, it is an elementary principle of law that if two offenses arc
sufficiently distinct to allow successive prosecutions they necessarily will allow cumulative
punishments to be imposed See, e.g., Garrert Where the court pointed out: “'l`he presumption when
Congress creates two distinct offenses is that it intends to permit cumulative sentences...” [ol. 471
US ar 793, SSL.E,d.Zd at 781.

line court in Cole and Crosby read Gorrett and Felr.'x to mean that courts may ignore the
Blockbarger rule and freely prosecute defendants in successive proceedings for conspiracy and
CCE "‘whether or not” the statutory offenses are different wider the rule. That cannot be a
permissible reading of either Garrenf or Felix and wouid lead to holding the CCE statute authorizes
consecutive sentences for ail greater and lesser~included offenses Such an imporable reading of the
statute wouldn moreover, be at odds With evident congressional intention of requiring federal courts
to strictly adhere to the Blockbarger rule in construing congressional intent As the court explained
in Wfiolen i>. Um`red Srores, 445 US 684, 63 L.Ed.2d. 715, 100 S. Ct. 1432 (1980) “Congress is
clcariy free to fashion exceptions to the rule it chose[s] to enact...A court, just as cleariy, is not."’ [d.
455 US at 695, 63 L.Ed.2d at 725.

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”fhe application of the Blockburger rule in Whalen was re-affinned only one-year later by the
-Court in Alhemaz v. Un.ired Stcrl'e.r, 450 US 333, 101 S. Ct. 1137, 67 L.Ed.Zd 275 (1981), where the
court again explained “Our decision in thrlen was not the first time this Court has looked to the
Blockbiirger ruie...Similarly, in Ictnnelli v. Urzz`teci Srates, 420 US 770...we explained: “'l`he test
articulated in Blockburger...serves a generally similar function of identifying congressional
intent. . lot 450 US at 337.

'i"he Colc and Crosby courts holding that the Blockburger-test does not apply when the
crimina§ activity at issue is multilayered, is contrary to Congress’ intent, and numerous Supreme
Coust dccisions, and was rejected in Jejj"ers v. Um'ted States, 432 US l37, 53 L.Ed.2d 168, 97 S. Ct.
2207 (1977`), the very first case the Suprenie Court heard foilowing the enactment of the CCE
statute in 1970. ’1`he Court disagreed with the United States Court of Appeals for the Seventh
Circuit, that the usual double jeopardy principles did not apply in complex conspiracy prosecutions
stating that: “Contrary to the suggestion of the Court of Appeals, lonnellz` created no exception to
these general jeopardy principles`for complex statutory crimes.” Id. 432 US at 151, 53 L.Ed.Zd at
i80. The Court further noted that: “The actual language of the hiil, however, used the words ‘in
concert with’ to cover both concerted action and conspiracy...Thus it is apparent that the senate
understood the term ‘in conceit" to encompass the concept of agreement.” id 432 US at 419, 53
L.Ed.Zd at i79 n.l4. in connection with this asstnnption, the Garrett Court made the following
findings ‘“[i]f anything is to be assumed front the congressional silence on this point, it is that
Congress was aware of the Blockburger rule and legislated with it in mind it is not a function of
this Court [or any other court] to presume that Congress was unaware of what it had accompiished.”
lot 471 US at 793~794, 85 L,Ed.2d at 78i. Furthennore, the Court has already rejected the idea:
“that Blockburger cannot he used for divining legislative intent when the statutes at issue are
conspiracy statutes.” Io.'. Albernczz_. 450 US at 339. See also, Um'ted Stcttes v. Felz`x, supra,' “We have
continued to recognize this principle over the years...[t]hat a conspiracy to commit a crime is a
separate offense from the crime itself Thus, in this case, the conspiracy charge against Feiix was an
offense distinct from any crime for which he had been previously prosecuted.” (citations ornitted)
iii li8 L.Ed.2d at 36'37. Ffhc same is not true with respect to Porter’s prior conviction

ln Garret‘r, the Court applied the exact same analogy, stating that: “Where the same conduct
violates two statutory provisions, the first step in the double jeopardy analysis is to determine
whether...Congress intended that each violation be a Separate`offense. “[d. 471 US at 778 85
L.Ed.Zd at 85 L.Ed.Qd at 771. Contrary to the suggestion of the Coie and Crosby courts, neither

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Garrett nor Felz'x, held that a person could be prosecuted in successive proceedings for greater and
lesser included offenses: “lt can be traced back to Blacksl'one, and ‘has been the Court’s
tuiderstanding of the Double leopardy Clause at least since fn re Nielsen...was decided in l889...’
Ici. Je;j"ers v. Unired Srares, 432 US 137, 158, 53 L.Ed.2d 168, 185, 97 S. Ct. 2207 (1977), Tliis
ancient ruie_, was reaffirmed in Rurlecz’ge v. Uniteci Srcrres, 517 US 292, i34 L.l§`,d.Zd 419, il€ S. Ct.
1241 (1996)_, Where the Court held: “For the reasons set forth in Je]j”ers, and particuiarly because the
plain meaning of the phrase ‘in concert’ signifies natural agreement in a common plan or enterprise,
We hold that this element of the CCE offense requires proof of a conspiracy that vvould also violate
§ 846.” fail 5l'7 US at 300-301, 134 L.Ed.2d at 427-428; “[t]here is no reason Why this pair of
greater and lesser offenses [§846 and 848] should present any novel problem beyond that posed by
any other greater and lesser included offenses, for Which the courts have already developed rules to
avoid the perceived danger."’ Id. 5l7 US at 305-306, 134 L.Ed.Zd at 43 0*43 l.

Therefore, allowing separate prosecutions or cumulative penalties to be imposed for
conspiracy and CCE after both Congress and the Supreme Court have pointed out that the CCE
conspiracy statute does not define a different offense from the conspiracy statutes defined in §§ 846
and 963, vvould be inconsistent with the Double leopardy Clause, Which Was specifically designed
to protect citizens from multiple trials for the same offense See Abney v. United Srares_. 431 US
65§, 52 L.Ed.2d 651, 97 S. Ct. 2034 (l977), Where the Court held: “[t]he Donl:)le Jeopardy Clause
protects an individual against more than being subjected to double pmiislirnent. it is a guarantee
against being twice put to trial for the same offense.” ld. 431' US at 660, 661, 51 L.Ed.2d at 654.

ln i990, the Seventh Circuit Court of Appeals, recognized that the Double leopardy Clause
forbids placing a defendant twice injeopardy for conspiracy and CCE Whether it be in the same or
separate proceedings Cf e.g. Uirired Srares v. Baker, 905 F.,’Zd 1100 (7th Cir. 1990) where the court
held: “A conspiracy is part of the essential “continuing series” oniy if it involves a concert among
the l`<lingpin and his five subordinates -in Which event it becomes a lesser included offense, and it is
double counting to include it among the three predicates jail 905 F.2d at 1103.

ln l993, the Supreme Court settled once and for all that Congress did not intend successive
prosecutions or cumulative penalties to be imposed for greater and lesser included offenses since
that ‘Wouid be the equivaient of prosecuting a person twice for the same offense See United Sra.re.r v.
Dr'xon, 509 US 688, i25 L.Ed.Zd 556, 113 S.C.t. 2849, where the Couit stated unambiguously that
when determining Whetiier two offenses are the same for purposes of barring cumulative penalties
in the same or successive proceedings is no different from determining whether successive

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prosecutions violate the Double .Teopardy Clause. Cf, e.g., Dixon, where the Court held: “ln both
the multiple punislnnent and multiple prosecution contexts, this Court has concluded that where the
two offenses for which the defendant is punished or tried cannot survive the c‘sarne elements” test,
the double jeopardy bar applies . .The same elements test, sometimes referred to as the Blockharger
test, inquires whether each offense contains an element not contained in the other; if not, they are
the c‘saine offense" and double jeopardy bars additional punishment and successive prosecutions."`
(citations omitted) (ernphasis in original) ld. 125 L.Ed.Zd at 568. The Court further noted: “‘That is
perhaps because it is embarrassing to assert that the single term “same offense” (the words of the
Fifth Amendment at issue here) has two different meanings -" that what is the same offense is yet
not the same offense.” (einphasis in original) Id. 125 L.Ed.Zd at 573. This reasoning is synonymous
with the court’s holding in Boker, supra

When C.ongress enacted the CCE statute, it was evident horn the legislative debate that
Congress intended to create a new super conspiracy provision in their pursuit of major drug
traffickers See, Gcirrerr, where the Court noted: “Congress was seeking to add a new enforcement
tool to the substantive drug offenses already available to prcsecutors.” Id. 471 US at 784 85 L.Ed.2d
at 775 Furthermore, both Je]j"ers and Garrerr states clearly that Congress was fully aware of the
Biockhur'ger rule when it drafted the CCE statute and further recognized that: “Congress cannot be
expected to specifically address each issue of statutory construction which may arise. But as we
have previously noted fin Albernaz v. Um`red Srores] Congress is ‘predoniinateiy a lawyer’s
body,’...and it is appropriate for us to assume that our elected representatives...know the law.”
( emphasis in original) fci 471 US at 793, 85 L.i:id.?,d at 78i "l`he Court further expiained: ""[w]e also
have serious doubts as to whether the offense to which Garreri pleaded guilty [to] in Washington
was a ‘lesser included offense’ within the CC-E charge so that prosecution of the fenner would bar
prosecution of the later.” Id. 47i US at 790, 85 L.Ed.2d at 779.

Although G-cirrerr`s prior marijuana importation conviction was a species of a lesser included
offense within his subsequent CCE prosecution, that conviction would have nonetheless withstood
the Blocfcl)urger - Aihernas "‘sante elements test” because Congress created a compound ot`l:`ense,
that required a “continuing series” of substantive vioiations of other sections of Title 21, which
were punishable in addition to the lesser-included conspiracy offenses that are reiied upon to prove
the "‘in concert” with five or more persons element” of the CCE charge However, the same is not
true with respect to the iesser included conspiracy offenses relied upon to prove the CCE offense:

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“The poiicy reasons usually offered to justify separate punishment of conspiracies and underlying
substantive offenses, however, are inapplicable to §§ 846 and 848.” ld. Je]_”fers, at 432 US l56-157,
53 L.Ed.2d at 183-184. See also_. Un.iteci St‘cttes v. St'n.gleton, l77 131 Supp. 2d 12 (D.D.C. 2001)
where the Court noted; “Tlns case is like Rutledge not like Gczrrert because defendant Singleton was
not convicted of narcotics distribution or narcotics importation in Florida, but of narcotics
conspiracy ”_Id. at 29; and Um`tea' Sz‘ates v. Felix, 503 US 378-390, 118 L.Ed.Zd at 25, 112 S. Ct.
1377 (1992), allowing prosecution for conspiracy auer petitioner was convicted of underlying
substantive offense, and citing Garrett as a similar case. Stating that: “[L]ong antedating any of
these cases and not questioned in any of them, is the general rule that a substantive crime, and a
conspiracy to commit that crime, are not the same offense for double jeopardy purposes.” jul 118
L.lEd.Zd at 36. Furthennore, the Court declined to even entertain G'arrett’s contention that his
marijuana importation conviction was a lesser included offense [which it clearly was not] of the
subsequent C.C`i£ conviction Pointing out that: “{h}owever, we were to resolve Crarrett’s lessen
included-offense argument One who insist that the music stop and the piper be paid at a particular
point must at least have stopped dancing himself before he may seek such an accounting...ln the
present casez as in Diaz, the continuing criminal enterprise charged against Garrett in Florida had
not been completed at the time that he was indicted in Washington.” Id. 471 US at 790-79§, 85
L.§d 2d at 778»779. livery crime charged in Porter’s CCE prosecution, was completed and known
to the got/eminent over two years prior to Porter’s “tirst” conspiracy prosecution in the Middle
District of Florida.

Nowhere in Garrett or Felix does the Couit even imply that the Blockburger “sanie eleinents”
test does not apply to complex conspiracy cases and the substantive offenses upon which those
crimes are predicated ln fact, just the opposite is true, because Felix itself relies on Blockburger;
“at its root, the Double leopardy Clause forbids the duplicative prosecution of a defendant for the
“"same offense"'. U.S. Const,_q 5', see BZoc/"cburger ..."(citations omitted.) (emphasis in original). let
§ 18 L.iid.2d 33. 'Whether conspiracy and CCE were the same offense was not an issue before the
Couit in Garrert. iiowever, it was apparent to the Court they were the same offense because the
Court did hold that cumulative penalties could nor be imposed for the two crimes See, e.g. limited
Sroles v. Reed, 880 F.Zd 1568 (i 1th Cir. 1993), where the court noted: “ln Gcrrreti, the Court held
that a CCE conviction may be based on predicate acts involving substantive crimes for which the
defendant had ah'eady been prosecuted "l`his holding was based on the dissimilarity of the elements
required to prove a CCE versus those required to prove a substantive crime. Garrett does not

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address the issue of a CCE prosecution based on the predicate act of drug conspiracy, an act similar
to CCE, involving many of the same elements as CCE. The Gar'relt Court specifically noted tltatla
CCE offense is not the “sa:tne” as a substantive offense, because a CCE offense uniii<e a substantive
drug offense, requires proof that the defendant acted °‘in concert” with five other peopie. Id. at 786,
105 S. Ct. at 2415. Quite simiiariy, a conspiracy conviction also requires proof of an agreenient,
unlike a conviction for a substantive offense ln fact, the Suprerne Court expressly noted “the
` conceptuai closeness” of sections 846...and 848 (CCE) in J`effers v. United States, 432 US i37, 145
n 11, 97 S. Ct. 2207, 22§3 n. 11, 53 L.Ed.£d 168 (1977). Because of this “cioseness” between
conspiracies and CCE’s, We must evaluate further Wbether double jeopardy bars a CCB prosecution
based upon a previous drug-conspiracy conviction.” (einphasis in origina'i) fci at 1575...The
Supretne Cotat has indicated and the Eleventh Circuit has held that drug conspiracy, as defined by
21 U.S.C. § 846 or § 963, is a iesser included offense of CCE, and that it is a violation of double
§eopardy to prosecute a defendant for the greater offense of CCE following a conviction of the
lesser included offense of conspiracy.” Id. at 1575-1576. Furtiiennore, both Cole an Crosby, are in
direct conflict With findede itself, and both St`ngleron and Reed. C_.`f. e.g. Sz'ngleton Wliere the court
noted tiiat: “”£`he Court in findede specificaliy addressed the question Wltether its decision there
conflicted in any Way With its earlier decision in Garretr and concluded that it did not.” Id. i77
F.S'upp.Zd at 29.

in 1981, only four years prior to Go.r'rert, the Court applied the B!ockburger test to a tnulti~
object drug conspiracy in A[bernctz v. United States, 450 US 333, 101 S. Ct. 1137, 67 L.Ed.Zd 275.
Tliei'e, the Couit approved consecutive sentences for conspiracy under 21 U.S.C. § 963 to import
marijuana and a conspiracy under 21 U.S.C. § 846 to distribute the same marijuana Tlie Court
acknowledged that: “[t]he Court’s appiication of the [Blockbar'gerj test focuses on the elements of
the'ot`fense."" Id. 450 US at 337, 101 S. Ct. 1141. And not to tire conspiracies that are actualiy
charged Id. 'l`lie Court distinguished Br'm>ermcrn v. United Sfafes, 317 US 49, 63 S. Ct. 99_, 87,
`L.l§`,d.Zd 23 (1942`), on the basis that in Braverman, both purported offenses Were vioiations of the
same statute Az'bernaz, 450 US at 339»340, 101 S. Ct. at 1142-1143. The Couit further pointed cut
that Wiien Congress had created two separate offenses that appiied to a single niulti~object drug
conspiracy, the proper question Was Wiietlier Congress intended that separate punishments be
imposed for each offense.” Id. 450 US at 337, i€}l S. Ct. at 1141. In the absence of an expressed

indication of congressional intent, tire Court appiied the Blockburger' test and conciuded that under

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Bfockburger, Congress deemed to have intended multiple punishments if each offense required
proof of a fact the other does not.” Id. 284 US at 304, 52 S. Ct. at 182.

in silberman the Bfockburger test Was satisfied because the two conspiracy statutes themseives
specified different objects of the conspiracy Section 846 made it a crime to conspire “to commit
any offense defined in this subchapter.” Section 846 is part of Subchapter I~Control and
Enforcement-of Chapter 13 of Title 21 U.S. Code. Section 963 similariy made it a crirne to conspire
“to commit any offense defined in this subchapter, “but it is part of Subchapter ll~hnport and
Export-of the same chapter. "i`hus the conviction under each section requires proof of a fact not
required for conviction under the other: section 846 requires proof of a crime defined in Snbchapter
i and section 963 requires proof of a crime defined in Subchapter ii. Therefore, the Court held that
the imposition of consecutive sentences did not vioiate the Double .!`eopardy Clause, because
Congress intended separate punishments be imposed because each statute required different
elements of proof

lt is an entirely different matter eren one such as in Porter’s case is prosecuted “first” for
What the goverinnent itself described as the “last” of a “continuing series” of “`conspiracy predicate
acts”~receives 10»years for those crimes, and then»is subsequently prosecuted again for the exact
same crime by the government relying upon that conspiracy conviction: as one of the “continuing
series" of ‘°CCE predicate offenses” and then is sentenced to a consecutive 775-year sentence for the
subsequent CCE convictionl That statute is also part of Subchapter i, but it makes it a crime to
conspire to commit any felony offense defined in either Subchapter l or Su.bchapter ii of Chapter
‘_ i?). `l"herefore, any conspiracy offense defined in either Subchapter 1 or ll, is a lesser included
offense of the CCE offense defined in § 848, because of the “in concert requireinent” in §
848{0)(2)(A):

1 Section 848(c) providcs:

(c) "Continuing Crhninal Enterprise’ defined “For
purposes of subsection (_a) of this section, a person is
engaged in a continuing criminal enterprise if~

“(i) he violates any provision of this subchapter or
subchapter ll of this chapter the punishment for Which is a
felony_, and

(2) Such a vioiation is a part of a continuing series of
violations of this subchapter or subchapter il of this
Chapter-

(A`) Which are undertaken by such person in concert with
five or more other persons With respect to Whom such

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person occupies a position of organizer, a supervisory
position, or any other position of management, and

(B) from vvhich such person obtains substantiai income or
resources.”

Ici'. 21 U.S.C. § 848. The language of section 848 restricts the definition of the crime to a continuing
series of violations as opposed to isolated and disconnected acts that are not part of the ‘°continuing_
series” of substantive predicate offenses that must be undertaken by the accused °‘in concert” with
five or more other personsz rather than the normai two person conspiracy defined in sections 846
and 963.'See e.g., Um'red Smtes v. McHan, lOl F.?>d 1027 (4th Cir. 1996) (Circuit ludge K.K. llall
concurring in part and dissenting in part) “First as i stated above, it is an odd paradox that a
continuing agreement could be composed of discrete, discontinuous sub agreements As findede
makes clear once and for all, a CCE is simply a conspiracy with certain aggravating characteristics,
and conviction Without those characteristics is mrconstitutional. “Id. lOi F.Bd at 1044

in Rz¢rledge, the defendant had been convicted of engaging in a continuing criminal enterprise
by acting “in concert” With others to distribute cocaine in violation of 21 U.S.C. § 848. l-le had also
been convicted of conspiracy, in violation of 21 U.S.C. § 846, on the basis of the same agreement
tie was given concurrent sentences on the two convictions Because the same act violated tvvo
distinct provisions of 'l`itle 211 U.S. Code, a unanimous Court concluded that because the “in
concert” element of the continuing criminal enterprise statute required the same proof of agreement
required by the conspiracy statute[s], the two offenses could not support multiple punishments [d.
517 US at 30§, 134 L.Ed,Zd at 438. The conspiracy statute required the proof of no fact in addition
to the facts required to prove engagement in a continuing criminal enterpriseh lot The Blockburger
assumption against multiple punishments controiled, because Congress had not cleariy indicated
that it intended multiple punisi‘)ments. The mere fact that the conspiracy vioiated two distinct
provisions was not enough to show congressional intent, fd. 517 US at 304, 134 L.Ed.Zd at 430 n.
i4, nor could it be assumed that Congress intended to permit two convictions so that one could hach
up the other in case of reversal of one conviction let 517 US at 305, 134 L.Ed.Zd at 430~431. 'l`he
two offenses came out the same under the Blockburger test, and not because Rurleclge Was nor a
successive prosecution case as the court stated in Cole.

in upholding qurett’s subsequent CCE conviction, the Court in addition to applying the Dic¢z

exception announced a tvvo~step analysis for determining vvhether successive prosecutions

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constitute a double jeopardy violation “First a court must ask Whetlter Cougress intended that each
violation be a separate offense.” Id. 471 US at 778, 105 S, Ct. 241 l. ln Jejj*"ers the Court pointed out
that Congress did not contend that conspiracy and CCE were different offenses: “’l`lie actual
language of the bill, however, used the Words “in concert wit ” to cover both concerted action and
conspiracy Id., at lZi. Thus it is apparent that the Senate understood the tenn ‘in` concert’ to
encompass the concept oi` agreement.” fdc 432 US at 149 n. 14, 53 L.Ed. 2d at 179 n. 14. “Second, il"
Congress intended separate prosecutions a court must then determine Whether the relevant offenses
{§§ 846 and 848] constitute the ‘saine offense’ Within the meaning of the Double .leopardy Clause."
Io’. 47i `US at 786, 105 S. Ct. 2415. Obviously, Congress cannot enact iaws that violate the
protections guaranteed by the F`il°th Amendrnent’s Double Jeopardy Clause or the Court”s “second”
requirement Wouid not have been necessary

Tlie significance oi` the Court’s holding in Rutledge that conspiracy and CCE Were the same
offense, When compared to the Cole and Crosi)y court’s tl“leory, is that every member oi" the Court
agreed that the usuai double jeopardy principles applied in CCE conspiracy prosecutions »~
including at that time Chief Justice Rehnquist who was also part of the four justice plurality in
Jejj"ers, that rejected the government’s argument that the usuai jeopardy principles should not appiy
to complex crimes - authored both opinions for the Court in Garrerr and Felix, wrote the opinion in
A[l)ernaz v. Um`red Srafes, Wliich Was also a multi~object drug conspiracy case and not one time
does Cliief justice Rehnquist even imply that the Blcckburger rule does not apply in complex
conspiracy prosecutions and only lG-tnonths after the Court’s opinion in Felr'x - Chiei` .l`ustice
Rebnquist agreed 'Witli a five justice majority in United St'crtas v. Dr`xon, that the °‘sanie elements”
test referred to as the Bfockburger test, alone Was the appropriate inquiry for determining Whether a
subsequent prosecution or cumulative punishment Were barred by the Doubie Jeopardy Clause. Still
and in-spite ot` the combined lessons of the Court in ch‘fers', Gcrrrerr, and Rrrtladge, that double
jeopardy barred cumulative punishment and successive prosecutions ior greater and lesser included
offensesq the Coie and Crosby courts cite Rutledge, G'c/rrert and Felz'x, for the position that they
would require courts to disregard the Blockburger rule and allow successive prosecutions and
cumulative punislnnents for all greater and lesser-included offenses, as long as they Were
prosecuted in successive proceedings i‘lndeed, it Was only in the simultaneous-prosecution context
that the Court in Ru!ledge found a double jeopardy vioiation. "l`he Court' ended its opinion by so
limiting the scope ot`.its lioiding."` Id’. 293 F.3d at ldl. “Cole is. . .correct that a § 846 conspiracy is a
lesser included offense of a CCE...He is also acourate...the predicate offenses...in Gctrrerr and

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Felix Were substantive . .But these are distinctions Without a difference . .'l`hat is because Rurled'ge
Was not a successive prosecution case.” Id. 293 F.Bd at 160. ffhat cannot be the lavv. Funlierniore,
both Cole and Crosby contradict an unbroken line of Suprerne Court decisions and contains less
than accurate historical analysis, quoting suspect dictum in Gcrrrert and Felz`x multiple tiines cannot
convert it into case lavv. ’l`he holding of Brown, like that of Je]j”ers, Garretr‘, Sc}rmuck, Dixoa, and
Rtrtledge, rests squarely upon the existence of a lesser included offense ln Brown, the Court stated
unambiguously that “Whatever the sequence may be the Fifth Aniendrnent forbids successive
prosecutions and cumulative punislnnents for a greater and lesser included offense.” ld. 432 U`S at
169, 53 L.Ed.Zd at ing Jejf]"”e)'"s: “Brown v. Ohio...decided today, establishes the general rule that
the l`,)ouble ‘leopardy Clause prohibits a state or Federal Govenunent from trying a defendant for a
greater offense after it has convicted him of a lesser included offense.” Ici. 432 US at lSO, 53
L.Ed.Zd at 180; {Fcrrrcrt: “l`his rule applies to complex crimes 'l`he CCE offense proscribed by §
848 is clearly such a critne.” Id. 47l UA at 802»803, 85 L.Ed.Zd at ?87; Dr`xorr.' “[fjor purposes of
the Double jeopardy Clause, the text of vvhich looks to Whether the offenses are the sanie, not the
interests that the offense violate . .Because Dixon’s drug offense_, did not include any element not
contained in his previous contempt offense, his subsequent prosecution violates the Double
.leopardy Clause.” Id. 125 L.Ed.Zd at 570; and in italiade the Court also rejected the govermnent’s
argument that Congress intended multiple convictions for conspiracy and CCE: “We find the
argument unpersuasive, for there is no reason why this pair of greater and lesser offenses should
present any novel problem beyond that posed by any other greater and lesser included offense, for
which the courts have already developed rules to avoid the perceived danger.“ fci 5l7 US at 305~
306, 134 ls.l§d.?.d at 430-431.

ln 1989, only four years after Go.rrarr, Chiet` lustice Rehnqnist joined a five justice majority in
.$’chimrck v. Uni!'ed St‘ctfe.s, 489 US 705, 103 L.Ed.?.d 734_, 109 S. Ct. l443, and agaln, clarified for
the sixth consecutive time than “Since offenses are statutorily dellned, that comparison is
appropriately conducted by reference to the statutory elements of the offense in question.,`and
not. . .by reference to the conduct proved at triai. . .the language of Rule Bl(c) speaks of the inefz.rsr°orz
of the lesser offense in the greater.” (emphasis in original) jul 489 US at 7'16-7i7, lO?) L.Ed.Zd at
746~?47. Th_e Court further noted that: “'i`hese new lawyers of analysis add to the uncertainty of the
propriety of an instruction in a particular case: not only are there more issues to be resolved, but
correct resolution involves questions of degree and judgment, with the attendant probability that the
trial and appellate cotats may differ.” fci 489 US at 721, 103 L.Ed.Zd at 749.

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lnsofar as the notion that Garrerr and Felix have supplanted the Blockburger °‘sarne elements”
test with a novel multilayered conduct tes ” was also rejected in Gorrett: “Tlie Double leopardy
Clause prohibits a state or Federal Governrnent from trying a defendant for a greater offense after it
has convicted hint of a lesser included offense 'l`his rule applies to complex crimes The CCE
offense proscribed by 848 is clearly such crinie.” lot 47l US at 802~803, 85 L.Ed£d at 787.

Although the Court has explained that: the rules established in Brown v. Ohio, Je_rjfcrs, and
Gorrart, does have certain exceptions See, Brown: “An exception may exist where the state is
unable to proceed on the more serious charge at the outset because the additional facts necessary to
sustain that charge have not occurred or have not been discovered despite the exercise of due
diligence ” lai 432 US at 168 n. 7; and jejj"ers: “[a]lthough a defendant is normally entitled to have
charges on a greater and lesser offense resolved in one proceeding there is no violation of the
Double .‘leopaidy Clause when he elects to have the two offenses tried separately and persuades the
trial court to honor his election." ' Id. 432 US 152, 53 L.Ed.Zd at lSl: ‘ [h]e was solely responsible
for the successive prosecutions for the conspiracy offense and the continuing~crirninal enterprise."’
Ir.i 432 US at 154 53 L-. Ed. 2d at 182. and Gorretf: “[t]he Governrnent s evidence with respect to
the CCl?, charge included acts which took place after l\/laich 1981, the date of the Washington
indictment, and up to and including Ju.ly 1981. Therefore, the continuing criminal enterprise
charged by the Government had not been completed at the time of the Washington indictment was
returnedF and under the Diaz rule »- evidence of the Neah Bay importation might be used to show
one of the predicate offenses.” [d. 471 US at 792~793, 85 L.Ed.Qd at 780. Not one of the above
recognized exceptions are present in Porter’s case - not onel

Although, some of the cases referred to here involve successive prosecutions rather than
multiple putnshment, which is Porter’s only concern, due to the fact that Old haw Rnle 35 only
allows Porter to attack his illegal sentence The problem is that if Cole and Crois'hy allows
successive prosecutions for conspiracy and CCE ~»~ they necessarily will allow separate punishments
to be imposed Anyway, the Suprerne Court has made clear that the “saine offense’“ analysis is
unaffected by whether the case involves multiple punishment or successive prosecutions lt is well
settled that “ln both the multiple punishment and multiple prosecution contexts, this Court has
concluded that where the two offenses for which the defendant is punished or tried cannot survive
the ‘sarne elements’ test, the double jeopardy bar applies See e,g., Brown v. Ol'ir`o..._,
B!ockbnrger-...(niultiple punishments); Go'vieras' v. Unired Srates..._, (successive prosecutions). llie
same-elements test, inquires whether each offense contains an element not contained in the other; if

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not, they are the ‘saine offense’ and double jeopardy bars additional punishment and successive
prosecution.” (citations omitted) Id. Dixon, at 125 L.Ed.Zd 568.

in Jones v. Thomas, 491 U`S 376, 1105 L.Ed.Zd 322, 109 S. Ct. 2522 (1989), the Court
explained: “Witli technical rules, above ali other it is imperative that We adhere strictly to What We
have stated the rules to be. A technical rule Witii equitable exceptions is no rule at ail.” Ia','. 491 US at
7 396, 105 L.Ed..'ld at 341. Stare decisis require that similar situated defendants be treated the same

The Blockburger rule is straightforward “[h]as deep historical roots and has been expected in
numerous precedents of this Court...'l`he ‘sanie conduct’ ruie...[Cole and Crosby announced] is
Wholly j inconsistent Witli earlier Supreme Court precedent and With the clear common»law
understanding of double jeopardy.” Id. Dt'xon, 125 L.Ed.Zd at 673.

Futthennore', a departure from the Blockburger rule is not justified by the mere fact that two
courts of appeal has suggested otherwise: “Since offenses are statutorily detined, that comparison is
appropriately conducted by reference to the statutory elements of the offense in question...”}d.
Schmuck v. United Smtes, 489 US at 716, 103 L.Ed.Zd at 746. And not to the conduct proved at
trial.

Porter is aware of only two cases, Where as here, the court had no power to effect over the
lesser included CCE conspiracy predicate offense And, in both cases the court held that since they
had no jurisdiction over the previously prosecuted conspiracy, the Court’s holding in Bail required
them to vacate the sentence for the subsequent CCE conviction and in one of those cases, the court
vacated both the sentence and conviction: “We have no jurisdiction, however, to vacate a
conspiracy sentence imposed in an earlier, completeiy different prosecution Consequently, We
reserve Reed’s CCE conviction and sentence because We have jurisdiction over these charges only.”
fd. Uni!ed State v. Reed. 980 F.Zd at 1581; Um`!'ed Stufes v. Grayson, 795 F.Zd 278 (3"d Cir. l986)
"Given that Grayson’s conspiracy conviction is in the District of i\/iaryland, the district here cannot
impose a general sentence on the CCH count and the Maryland conspiracy conviction Nor can the
court vacate the Maryland conspiracy conviction i\/ioreover, the district court carniot allow the C`C.E
sentence to run concurrently With the conspiracy sentence in Ball v. United States, 470 US 856,
105 S. Ctt 1663, 1673, 85 L.Ed..Zd 740 (_1985), the Court held that once it is determined that

Con§;ress did not intended to punish two offenses cumulatively:

"l`he oniy remedy consistent with Congressional intent is
for the district cou.rt_, Where the sentencing responsibility

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resides, to exercise its discretion to vacate...the
underlying convictions [or sentences]. The remedy of
ordering one of the sentences to be served concurrently
with the other cannot be squared With Congress intention

Id. 795 F.Zd at 288 (ernphasis in original). Accordingly, not only Was Porter’s 75~year sentence for
CCE illegai When it Was imposed according to the Court’s holding in Ball, the Court had already
held in both Jejj‘ers and Garrert that the Double .leopardy Clause barred cumulative punishment
from being imposed Where two statutory provisions describe the sense offense See United Stares v.
Porrer, 821 §`.Zd 968, 978 (4th Cir. 1987) (“We agree vvith Porter. . .Congress did not intend that an
individual be punished under both § 846 (conspiracy) and § 848 (continuing criminal enterprise).
Uniled Slcttes [sr'c] v. Garretl, supra; Jejj"er,s', supra."’) See also, Um`ted Sfat'es v. Butler, 885 F.Qd
195 (4th Cir. 1989`) where the court cited it’s holding in Porrei~ as representing the following “A
defendant convicted under § 848 may not also be convicted for any predicate conspiracy charges
proved as elements of the § 848 offense,“’ Ia’. 885 F.Zd at 202. Apparently, the court in neither
Porfer nor finder Were aware that just the opposite Was true in Porter’s case: “This conspiracy went
up through and until the sting. And he [Porter] has plead guilty to it, and were relying on that
conviction as one of the predicate Q]j%nses, ]`d. Triai Traiiscript, W.D.N.C. Vol. 8 page 59. And
that Porter is serving consecutive sentences for the Florida conspiracy conviction and subsequent
CCE conviction, see Exhz'bir B. Furthennore, the Fourth Circuit also fonnd: “The crime charged in
Florida Was the lost of the series of crimes . .on vvhich the government reiied to prove that Porter

engaged in a criminal [sic] continuing enterprise . .” Id. 821 F.Zd at 978.

CONCLUSION

'l`here is no case to distinguish Porter’s case frotn, because no court, under no circumstances:
has ever allowed consecutive sentences to be imposed for CCE and its underlying conspiracy
predicate offenses Furthermore, the court held in Porter' itself that both Jeffers and Gdrrert barred
even concurrent sentences for the “first” of the alleged “continuing series of conspiracy predicate
offenses Therel"ore, they cannot also hold that Porter could have a consecutive sentence for the _

c‘last.” 'l`liat would be the equivalent of the Court’s statement in Dz‘xon: That is because it is

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embarrassing to assert that what is the same offense, is yet not the same offense, just because the

two offenses are prosecuted in successive proceedings

Respectfully submitted this 2“d day of lune, ZOll by:

dds/ne FY./,/Zi» _

Wayne Porter, Petitioner (pro se)

Reg. No. 00622-043

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Exhibi'fs

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Case 3:14-cv-00373-RLV DOCument-Z Filed 07/28/11 Page 22 of 64

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Case 3:14-cv-00373-RLV Document 2 Filed 07/28/11 Page 23 of 64

 

 

 

 

 

 

 

 

 

 

 

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Exhibit$

Case 3:14-cv-00373-RLV Document 2 Filed 07/28/11 Page 25 of 64

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lf you have a presumptive parc)!_c datc, any £DC actions referred to in this report wi}l be considered by the U.S. Parolc CG:\\niissioil eis a
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in mitigation of your misconduct, and you may request to rcvie_w ali disclosable documents that will be considered by the Commi‘§$ig)n.

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¢/§Ml ?Q¢':&gt 11 ‘ 322/424 ` ` /7//{9§,_..___
nm tc‘s igna nrc

Date Sta{{f .Signat\:re

 

l. Type of Progress Report: - _ ;§

 

 

 

 

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rl`rausfz:r:,,____}r;_){_______..._ ; Otlxcr (snecify): _'________._____.,.__,__ _ ` ` '-
2. Name: n 4 . ` 3. ch. No: ` - ` -4. Age (l)OB):
PGR'§`ER, Wayné _ 00622-043 (C) 36 (01--22-50)
5. I>:escm security/custody Lev¢': ' '
2/1N ~#.‘

 

6. ()[|`cnsc: _ '

Conspiracy to lmpont Marijnéna; Possession with Intent to Distribute Marijuana; Use of 3
Faciiity to Facilibate the Commission of Consgiracy§€ontinuin§ Criminal Enterprise; Con}
anx§ua .~__.__22“

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7. Sc'fltcncc: “' '

10 Yeans (210848 CCE}; 75 Y¢ans (21-848.€€€); Concurrent to # 1; 4 Years SPT

 

 

 

 

 

 

 

8. Semcncc Bcgan: 9. "Mc)nti\s Servcd:_ 10. Days EGT: :
07 -OZ-"B¢t `20 MOH§§'ES + 187 DJC 62 ""__"_.
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ll. l)nys|~`(`»'f`/W(}'l‘: 12. 'I`enativc!{clcasc: 13. LastCi§::xnlissi<)1\Actic)n_l)utc_: .\_‘
NGA dated 03»21~8 wlth P.P. 12~22»§6
O/G _03-07~2028 not applicable, since serving 75 Yéérs
. CCE .
14. Dctainers/Pending Clmrgcs: _ 1 n » . .,-_.‘,(_‘_\;..
There are no detainers er pending charges.
l§. C€}-dc:|`endantst
Thene were no known co-defendants. _ ix §

 

 

 

Dis'tributie)n: Original w lumate F§l¢; Conics to U.S. Probation Oi`L`lce,
- Parolc Cqmmission Regional Ofi`zce, Ir:mate
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18.

Classification Form 3a
Revised A;Jz'i| 1977

UNHED STATES BEPARTMENT OF JUSUCE
BUREAU OF PREONS

PROGRESS REPORT
(Uontinuod)

\

Name; PORTER, Wayne _ _ Regswr Numbm: 00622~0&3 (C} ome; 03-06-36

Snmmary of Prior Progress Reports: Porter's only prior progress report was completed _
on 0?»29~85 at FCI, Lexington, Ky. While there, he
satisfied ali mandatory ABE requirements and enrolled in the GED studies. His work reports
showed steady improvement once he received a job change to orderiy. He maintained a fav~
orable relationship with staff, Porter maintained clear conduct. '

hew Information: On November 6, 1985, Porter received an additional 75 year sentence from

the Western District of North Carolina. This sentence is a 21-8&8»
Continuing Criminal Enterprise sentences thus non~paroiable. With his prior sentence,
Porter has a total of ?9 years, with a projected satisfaction date of 03~0?~2028 via
Mandatory Release. -

Institutional idjustment:

a. Program Plan: At Mr. Porter's initial classification, ne was programmed for GED,
Vocational participation. He was assigned to a job in the Power Plant.
He requested a job in the §ecreation Department.

b, Work Assignments: Porter‘s work evaluations from the Power Plant have reflected
marginal performance. However, he has received outstanding
evaluations from his Education snpervisors.

c. Edncational/Vocationai Participation: Porter is participating in the GED program.
He enrolled in the program Novemoer 18, 1985
and continues his involvement to this time. He has received outstanding evaluations
from the Education Department.

d, Relationship With Staff: Porter maintains a positive relationship with staff. He
.always approaches staff in a polite and courteous manner.

 

e. incident Reports: Porter is not seen as a management problem. He has maintained
clear conduct since being in federal custody.

f. Community Program Involvement: Porter has not participated in any community programs.

 

g. lnstitutional Movement:` Porter was designated to fCI, Lexington and arrived there
August 6, 1984. He was redesignated to FCE, Ashland, Kentucky
while on Writ. He arrived at this institution on 11~18-85 and has remained here since
that time.

 

h, Physical/Mental Heaith: Porter reports he suffered a heart attack in ?980 or 1981,
‘ He was not under a doctors care nor was he receiving any
medication prior to his incarceration. ?here is no indication that he suffers from
any significant health problems at the present.time. Porter does not seem to be
suffering from any psychological, mentai, or emotional problems. He appears to be
functioning within the realm of acceptabie behavior. -

 

-Case 3:14-cv-00373-RLV DocumentZ t:i|ed 07_/28/11 Page 27 of 64_ . - \°b

 

C!assification Fozm 33
Ftevised Apz'i| 1977

UN!'T£D STATES DEPARTMENT OF JU$TICE
BUREAU OF PR{SONS

reassess REPQRT' _

(continued)

Name= POH'?ER, Wayt'ie l ' Regis’ter Number: 00622-(}£§3 (C) ‘ gate; 03-06-86

19. Release Plannning:
a. Residence: To ne secured through CTC in the Wilkesboro, North Carolina area.
b. Employment: To be secured.

c. USPO: E. Hugh Martin, P.O. Box 177, 238 Federai Building, 207 West Main Street,
Wiikesboro, NC 28697. -

   

Dictated by: ,~.,d
- M.L. tv ns, Case Manager

Date dictated: 03"06»86

 

Reviewed by: A¢Z§;ZQ?V Date reviewed: 51"£;~&22

Panl Helo, Unit Manager

Date typed: 03»06»86

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Exhibi‘t$

Case 3:14-cv-00373-RLV Document 2 Filed 07/28/11 Page 29 of 64

 

 

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in the prrsr~ocr of the attorney for the government M¢,.…, m.l h
the defendant appeared in prison on this date _ h..._ `
November 6, l§€

 

BUNSEL ;L.._f WETHOUT COUN$E¥. i-lowc'vrr thed road arl\'iwd drivnd¢'znt of right to couns¢'f and asked min-hr {l !rL»;v-£:'. D m h

l rounwi whomth inv the court and the defendant thereupon waived assis'CHAFetOTT.E N C
' ¢_ . , c .
f tx ;\VVH{COUNSEL me“ Harold J. Bender, retained

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f....__J GU|LT‘:', and the court being satisfied that
P‘LEA . . .
there rs a factual basis for the plea,_

im..“...i NO'!' GUIE.?Y. Defenc_iant is discharged

`fher?bcingalia?£i£ug'~.»erdictof f
L;XMFGUHJY. by the jury as to counts 1,2,4,7,8,16-19,2é~29 6
Drfendant has been convicted as charged of the offensets] of the indictr
XHG& 1 Conspiracy to possess & distribute more than 1000 lbs of marijuana, a Scheduie l non-
GMEHT F narcotic controlled substance, & 2 million methaqualone tablets, a Schedule 11 non-oz
tic controlled substance, in viol. of 21 USC Section 846, as charged in count 1; pass
sion with intent to distribute more than 1000 lbs of marijuana 5 aiding & abetting h
same, in viol. of 21 USC Section Bél(a)(l) o 18 USC Section 2, as charged in count 2;
f possession with intent to distribute methaqualone & aiding & abetting in the same, h
of 21 USC Section BAl(a)(lj & 18 USC Section 2, as charged in count 4; distribution c
"`"““\ awareness Jo_o.o., insist marijuana a eddins-lau santana ,ia,vths.,z$aos,., daniels <e.f;. §,1,1.11$_€...§
- _ war sf\o\\n‘ or appeared to the cnurL tim court adjudged the defendant gui|t\ as charged and cor\\lctrd and ordered mm Tb¢~ ti~i»-.'\d.m

hereby commuted to the custod-. of lfw Nzc\m¢_-\. C_`.cnr'rai <\r fm authorrr¢:d rc-prc‘,\enta!:vc' fur imp-\-o_nmenr_fm aprist of

_g%g 8é1(a)(1) & 18 USC Section 2, as charged in count 7; traveling in interstate commerct

g >_promote an illegal activity, in viol. of 18 USC Section 1952, as charged in counts 8
'iTmH and 25; conspiracy to imporc, possess & distribute more than 1060 lbs of marijuana a
mg of cocaine, a Schedule II narcotic controlled substance, in viol. of ZI'USC Sectionl

as charged in count 16; conspiracy to possess & distribute more than 1000 lbs of mar
in vioi. of 21 USC Section 846, as charged in counts 18 & 24; conspiracy to possesst

distribute marijuana, in viol. of 21 USC Section 8é6, as charged in count 19; using:
communication facility in the commission of a felony drug offense, in viol. of Zl'UR

:ML` Section 843(b), as charged in counts 26-29; and engaging in a continuing criminal
:mHS enterprise, in viol. of 21 USC Section 848, as charged in count 3a of the Indictment
.nmz '

Counts lO-l§ and 21~23 dismissed by the Court per Grder of lO-l?~S§h
Counts 3, 5 and 6 dismissed by the Court on 10-23~85.

(continued on next pagel
}.*H\L in addition fo tim sporlai cor\dltrom of nroiaa.fvcm mmr-wci e;.;.\-¢._ ,; ,‘ },,_.,,_.§,\ c,,d,.,.c.d mm ibp rummel mr_&:"m_ m wch

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s names gm QQS@ 3_1_4.@; _ n-OO:§ZB-RLV Document 2 Filed 07/28/11l Page 30 of 64 ¢
ROBERT D. POTTER, Chief dodge ivy November 6, 1985

 

 

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d dcfr~ndant of right to counsel and askt»d ulrr-thr\r defendant d¢~,\t`rer
couns.e“i appointed by the c

ourt and thc de!cndant thereupon warvpd assistance ct counsr~t

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tNarnc of Counsr'l)

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, theretsefactuaf'baslsfor the plea,

t L,mJ NOT GU!LTY. Defendant is discharged
Ther'€ being a finding/verdict ol`

L_`~_.,.J CUll`t`Y.

De;etrdant has been convicted as charged of the offense{s} of
nrs a `

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(continued from-page 1)

n Tlrv court tar-led whether defendant had anr,'tl'nng to sat rshv judgment shouer nut bc trrorrmrnrr-d B--
nar sho\rrr, m acmeer to the tourt. tlrr- court adtudtzr-c` thc dt-!t‘

hereby committed tc‘ the custod\' of the Attornc\ C.cnemf or ins auth

JE' Count 3¢§: SEVENTY-FIVE (75) YEARS.

\¥mH P Sentences imposed in all of the followin
.En imposed in count 34:

Count; lt FIF'I'EEN (15) YEARS;

Counts 2 end 7 merged for sentencing: FIFI`EEN (15) YEARS, to run consecutive with th
sentence imposed in count l; '

tatum mr suffrr ir»nt must to tfrr- rrr*::r.:
nd.=,nt g\rrfty as chargr'rf and con\rcit-d and ordered that ?ht- dr

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cured represent»atn-e §or imcrnsonnrt»nt lch a period of

g counts are to run concurrent with the sente

Count £r: FIVE (5) YEARS, to run consecutive with the sentence imposed in counts 2 an
fi'?]‘;{$ §§ plus a four (Jr) year mandatorr'y special parole term due to a prior convictidit;M[uu,s
Counts 8, 17 and 25 merged for sentencing: FIVE (5) YE_ARS, to run consecutive with t~
trott sentence imposed in count'lr; " `
Count; 16: ' PIFIEEN (15) YEARS, to run consecutive with the sentence imposed in counts
17 and 25; ` - '

Count 18: FIFTEEN (15) YEARS, to run consecutive with the sentence imposed in count
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IERT sentence imposed in count 18; a rr~‘-rt\-'rt wm cl rim ;='d:nrr"
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Counts 26, 2?, 28 and 29 merged for sentenci’ng: fOUR (£r) 'x'E S§ii‘i'arz="'t'o"tbo'ra.!-'ft;.t‘,t‘ta"."s.rrrt
ff to run concurrent with sentences imposed in counts 1,2,£»¢; I*""r*f:"r"?t`_;t§l‘“¥"°f’_.'f;l'k'l>‘rit"\_r_:¢'u
f 7,8,16,17,18,19,2& and 25. U. S. Distz‘;tct Courh

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RGBERT D. POT'I`E.R, Chief Judge\ t,d,, ___Novernbe_§___§) 1985 b

 

 
    

 

 

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CERTIFICATE OF SERVICE

L Wayne Porter, the undersigned, hereby certify that one copy of Porter’s Moi'ion to Amend and for
A<ijudécation Of his Rule 35 Mo‘iic)n, and attached Exhibits, Was mailed first class postage pre~paid

to the following

larry W. Miller
Assistant Uniied States Attorney
Roc)m 221, 401 Wes§ Trade S‘§reet
Chariot:te, North Caroiina 28202

This, tile 2nd day of june, 201£.

W`ayne Porie:r_. Pe€itic)ner (pro Se)

Reg. No. 00622»043

FEDERAL CORRECTIONAL COMPLEX
P.O. Box 5300 .

Adelanto, CA. 92301

Case 3:14-cv-00373-RLV Document 2 Filed 07/28/11 Page 32 of 64

\IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DlSTRlCT OFNORTH CAROLINA
CHARLOTTE DIVISION
CR¥SS-GZ-Ol

 

WAYNE PORTER,
Petitioner_,

' ' Mo'rtoN ron Ap.toorcArIoN
_ VS' AND AMENDMENT ro arms
35 MorroN _

UN§`TED STA"I.`ES OF AMERICA,
Respondent.

 

 

`\?\/aync~)l Porter, the movant herein and in pro re submits this motion to the Honorable Court to
amend his Rule 35 Motion now pending before the Court, and for immediate adjudication of his
present claim that has lie donnant in the Western District of North Caroli.na since J'anoary 26a
2007?

On Jnly 1, 2010, Porter Was informed by retained counsel that they had fried another Rnle 35
Mot§orz on his belialf. This motion too ~»- With the blessings of Porter’s retained oourrsel’s silence,

has j ust disappeared like a helium balloon into thin air,

STA_NDARD OF REVIEW

ln determining Whether separate punishments imposed in two separate proceedings arc
unconstitutional, is no different than determining erether two separate statutory provisions describe
the same offense Um'recl Srafes v. Dz`xon, 509 US 688, 126 L.Ed.Zd 556, 113 S. Ct. 2849 (1993).

The dispositive question is whether eaoh provision requires proof of fact Whieh the other does not.

 

1 See Role 60{!:)) Motion attached hereto and incorporated herein by referenee as Exhibit A.

-1~

Case 3:14-cv-00373-RLV Document 2 Filed 07/28/11 Page 33 of 64

 

 

Alber)tczz v. Urzil."ed Srczt'e,s', 450 US 333, 67 L.Ed.£d 275, 101 S. Ct. 1139 (1981) (q_uoting.
Blockburger).

statements or run FACTS

Porter is presentiy serving 79 years for the CCE conviction in the Western District of North
Carolina - not 75 years2 Title 18 U.S.C. § 3584(€) required the Bureau of Prisons, for
administrative purposes to add What time Porter had remaining on his prior 10 year sentence for

conspiracy out of the Middle Di_strict of Florida pi~osecution;to- the'75 year CCE sentencer

On Novern'oer 6, l1985, Porter received an additional 75-

'year sentence front the Western 'l`)istrict of "North
Carolina. The sentence is a 21»348-»Continuing Criminal
Enterprise sentence, thus nonparolable. Wr'rh his prior
sentence Porter has cr total cf 79 years...

Id. Bureau of Prisons Progress Report at page 2. Furthennore, the district court for the Westezn
District ot`North Carolina, enhanced Porter°s second sentence, because of Porter’s prior conspiracy

conviction:

Cou11t4: Five (5) years to run consecutive with the sentence imposed 111 Count 2 plus
a four (4) year mandatory speciai parole term due to a prior conviction

Porter is the only defendant the courts have ever required to serve consecutive sentences for
conspiracy (§ 846) and Continuing Crirninal enterprise (§ 848). No other court has ever upheld such
a flagrant double jeopardy violation If Porter cannot have even concurrent sentences for the “t`n‘st”
of the “continuing series” of conspiracy predicate acts -»~ how could he have consecutive 10 year
sentence t`or the “last”?

Portei"s Rule 35 Motion does not address the Pourth Circuit Court of Appeals holding in
Unl`(ecf Stafe.s' 1), Co]e, 293 F. 3d 153 (_2002'), that Garrelr v. Uni)fed States. 741 U.S. 773,105 S. Ct.

 

See 15 ruled States Departlnent ot` Ju.stlce Bnreau of Prisons Progress Report for Wayne Porter attached hereto and
incorporated herein by reference as Exhibit 8
iudgment for the Western District of North Carolhia attached hereto and incorporated herein by reference as Exhibit
C.
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2407, 85 L. Ed. 2d 764 (i985); and Unr`ted S.taz‘es v. Felix, 503 US 378, 112 S. Ct. 1377, 118 L. Ed.
2d 25 (1992), have supplanted the BZoc/cl)nrger v. Uniteo' Sz‘cz).‘es, 248 US 299, 52 S. Ct. 180, 76 L.
Ed. 2d 306 (1932)__ “sarne elements” test, With a novel “multilayered conduct” test that appiies to
complex crime cases C_'f c g., Coie, Where the court held: “'l`he Florida conspiracy charge and the
instant CCE conviction are not the ‘sanie offense under Blockburger because the criminal activity
at issue here is so niuitiiayered.” Id. 293 F. 3d at 162 n. 4, and Uniteo" States v. Crosby, 20 F, 3d 480
(D.C. Ci`r. 1994), “[W]e like the Gorrert Couit, decline to apply here the so~called “Blockburger'”
_test...” [d. at 483 n. 9; because: “[v`v]e conclude the appell`ant"s earlier prosecution for single
predicate acts Whatever their double jeopardy effect might be on subsequent prosecutions for
overlapping single offenses or even for section 846 conspiracyp presents no bar to the p1esent
prosecution under cotuits 1 2 and 4. As the Court made clear in Gafrett multi- layered conduct
offenses such as CCE violations are generically distinct in the double jeopardy arena." (ernphasis
added), Id. at 485.
'l`o begin with, the courts in Cole and Crosby Were nor confronted With the constitutionality ot`
. imposing cumulative penalties for conspiracy and CCE convictions Although, the implications of
their findings are the same Because, it is an elementary principle of law that if two offenses are
sufficiently distinct to allow successive prosecutions they necessarin vviliL allow cumulative
punishments to be iniposed. See, e.g75 Garrert where the court pointed out: “Tlie presumption When
Congress creates two distinct offenses is that it intends to permit cumulative sentencesl . .” _Ici. 471
US at 793, SSL.Ed.Zd et 781
'i"he court in Cofe and Crosby read Gczrrcrt and Falix to mean that courts may ignore the
Blockbnrg'er rule and freely prosecute defendants in successive proceedings for conspiracy and
CCE “"`Whether or not” the statutory offenses are different under the rule `That cannot be a
permissible reading of either Gorretl or Felix and vvould iead to holding the CCE statute authorizes
consecutive sentences for all greater and lesser-included offenses Such an inoperable reading of the
statute would, moreover, beat odds with evident congressional intention of requiring federal courts
to strictly adhere to the Blockburger rule in construing congressional intent As the court explained
in Whalcn v. United Sfates, 445 US 684, 63 L.Ed.Zd 715, 100 S. Ct. 1432 (1980) “Congress is
clearly free to fashion exceptions to the rule it chose§s] to enact . .A court, just as clearly, is not."’ Id.

455 us n sss, 63 usage at 725.

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.The application of the Blockbnrger rule in thri'en Was re-afiirined only one-year later by the
,_ own in Azae»ma v. lanes smi-e.s', 450 Us sss, ici s. cr 1137, 67 L.sd.zd'27'5 (issi), mere the
court again explained: “Onr decision in Whnlen was not the tirst_tiine this Conrt has looked to the
Blockburger rnle...Siinilarly, in lannellz' v. Unz`ted States, 420 US 770...We explained “"l`he test
articniated in Blockbnrger...servcs a generaliy similar function of identifying congressional
intent...” Id. 450 US at 337.
ffine Cole and Crosby courts hoiding that the Blockbnrger test does not apply When the
criminal activity at issue is multilayered, is contrary to Congress’ intent, and numerous Snprerne
Conrt decisions, and Was rejected in Je]j"ers v. Um'ted States, 432 US l37, 53 L.Ed.'Zd 168, 97 S. Ct.
2207 (1977), the very first case the Snpr_erne Court heard following the`enactrnent o§ the CCFJ
statute in 197{). -~'l." he Co_urt disagreed with thellnited States Court_ of App_eals for the _Seyejn_th
Circnit, that the usual double jeopardy principles did not apply in complex conspiracy prosecutions
stating that: "`Contrary to the suggestion of the Conrt of Appeals, 10./melli created no exception to
these general jeopardy principles for complex statutory crirnes.” Id. 432 US at 151, 53 L.Ed£d at
iSO. The Conrt i`nrther noted that: “The actual language ot`the bill, however, used the words ‘in
concert with’ to cover both concerted action and conspiracy...'i`hus it is apparent that the senate
understood the tenn ‘in concert’ to encompass the concept of agreement.” Id. 432 US at 4l9, 53
L.Ed.Zd at 179 n.l¢t. ln connection With this assumption the Gcirretr Conit made the foilowing
findings “[i]f anything is to he assumed front the congressional silence on this point, it is that
C-ongress Was aware of the Blockl)nrger rule and legislated With it in nnnd. it is not a function of
this Co'ttrt [or any other conrt] to presume that Cong,ress Was unaware of Wliat it had acconipiished.”
Id’. 471 US at 793-794a 85 L.Ed.Zd at 78l. Pnrtlierrnore, the Conrt has already rejected the idea:
“that Blockburger cannot be used for divining legislative intent When the statutes at issue are
conspiracy statntes.” Id. Alt)ernaz_. 450 US at 339. Se`e also Unfted Srcztes v. Felix. snprc:_,' “We have
continued to recognize this principle over the years.'..[t]hat a conspiracy to commit a crime is a
separate o€fcnse from the crime itself Thus, in this case, the conspiracy charge against Felix Was an
offense distinct front any crime for Which he had been previously prosecuted.” (citations omitted)
let 118 L.Ed.Zd at 36~37. The same is not true With respect to Porter’s prior conviction
in Garren‘, the Conit applied the exact same anaiogy, stating that: “Wherc the same conduct
vioiates two statutory provisio_ns, the first step in the double jeopardy analysis is to determine
Whether...Congress intended that each Violation `be.a separate offense “[cz'. 471 US at 773 85
L.Ed.?.d at 85 L.Ed.Zd at 771. Contrary to the suggestion of the Cole and Cros'by courts, neither

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Garr en nor Felix, held that a person could be prosecuted in successive proceedings for greater and
lesser included offenses: "‘ it can be traced back to Black,stone, and has been the Court’ s
tuiderstanding of the Double Jeopardy Clause at least since fn re Nz'elsen. was decided in 1889.

jul Jejjfers v. Unired Smtes, 432 US 137, 158, 53 L.Ed.2d 168, lSS, 97 S. Ct. 2207 (1977),"11113
ancient ruie_, was reaffirmed in Rutledge v. Um'ted Stares, 517 US 292, 134 L.Ed.Zd 419, 116 S. Ct.
1241 (1996`), where the Court held: ‘?For the reasons set forth in Je]j”ers, _ and particularly because the
plain meaning of the phrase ‘in concert’ signifies natural agreement in a common plan or enterprise
we hold that this element of the CCE offense requires proof of a conspiracy that would also violate
§ 846.” Id. 517`US at 300-301, 134 L.Ed.Zd at 427-428; “[t]here is no reason vvhy this pair of
greater and lesser offenses [§846 and 848] should present any novel problem beyond that posed by
any other greater and lesser included offensesz for which the courts have already developed rules to w
avoid the perceived danger.” Io.’. 517 US at 305-306, 134 L.Ed.Zd at 430-431.

Therefore, allowing separate prosecutions or cumulative penalties to be imposed for
conspiracy and CCE after both Congress and the -Suprerne Court have pointed out that the CCEl
conspiracy statute does not define a different offense from the conspiracy statutes defined in §§ 846
and 963, would be inconsistent with the Double Jeopardy Clause, which was specifically designed l
to protect citizens from multiple trials for the sarno offense See Abney v, 'Um'red Statcs, 43l US
651 52 L. Ed. 2d 651, 97 S. Ct. 2034 (1977)- where the Cou.rt held: “{_t]he Double jeopardy Clause
protects an individual against more than being subjected to double punishment lt is a guarantee
against being twice put to trial for the same offense ” Id.-- 431 US at 660. ._661 51 L. Ed. 2d at 654.

ln 1990, the Seventh Circuit Court of Appeals, recognized that the Double Jeopardy Clause
forbids placing a defendant twice in jeopardy for conspiracy and CCE whether it be in the same or
separate proceedings Cf e.g. Unired Stares v. Baker, 905 F.Zd 1100 (’/'d1 Cir. 1990) where the court
held: "‘A conspiracy is part of the essential “continuing series” only ifit involves a concert among
the Kingpin and his five subordinates -in which event it becomes a lesser included offense, and it is
double counting to include it among the three predicates id 905 F.2d at 1103.

in 1993, the Suprenie Court settled once and for all that Congress did not intend successive
prosecutions or cumulative penalties to be imposed for greater and lesser included offenses since
that would be the equivalent of prosecuting a person twice for the same offense See Unit‘ed Sznz`es v.
Diron, 509 US 688, 125 L.Ed.Zd 556, 1l3` S.C.t. 2849, where the Cou;tt stated unambiguously that
when determining whether two offenses are the same for purposes of barring cumulative penalties
in the same or successive proceedings is no different from determining whether successive

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prosecutions violate the Double leopardy Clause. Cf, e.g., Dz'xc)n§ where the Court held: f‘ln both
the multiple punishment and multiple prosecution contexts, this Ccurt has concluded that.where the
two offenses for which the defendant is punished or tried cannot survive the “same elements” test_.
the double jeopardy bar applies . .'i`he same elements test_. sometimes referred to as the Blockburger
test, inquires whether each offense contains an element not contained in the other; if not, they are
the “saine offense" and double jeopardy bars additional punishment and successive prosecutions.”
(citations omitted) (eniphasis in original) Id_ 125 L.Ed.?.d at 568. The Court further noted: “That is
perhaps because it is embarrassing to assert that the single term “same offense” (`the words of the
Fifth Ainendinent at issue here) has two different meanings ~ that what is the same offense is yet
not the same offense.” (_ emphasis in original) Id. 125 L.Ed.Zd at 573. This reasoning is synonymous
with the co urt’s holding in Baker, supra 4

When Congress enacted the CCE statute, it was evident from the legislative debate that
Congress intended to create a new super conspiracy provision in their pursuit of major drug
trafficl<;ers. See, Garren*, where the Court noted: “Congress was seeking to add a new enforcement
tool to the substantive drug offenses already available to prosecutors.“ Id. 47i US at 784 85 L.Ed..’ld
at 775. Furthermore_, both Jeyjfers and G'arrctt states clearly that Congress was fully aware of the
Blockf)nrger rule when it drafted-the CCE statute and further recognized that: “Congress cannot be
expected to specifically address each issue of statutory construction which may arise. But as we
have previously noted [in Albernaz v. Um'tea' Sz‘ares] Congress is °predominately a lawyer’s `
body,’...and it is appropriate for us to assume that our elected representatives...l<now the iaw.”
(ernphasis in original) Id. 471 US at 793, 85 L.Ed.fld at 781. l`he Court further explained: “`“[w]e also
have serious doubts as to whether the offense to which Gdrrert" pleaded guilty [to] in Washington
was a ‘lesser included offense’ within the CCE charge so that prosecution of the former would bar

l prosecution of the later.” ftl 471 US at 790, 85 L.Ed.Zd at 779.

Alt.hough Gczrretr"s prior marijuana importation conviction was a species of a lesser included
offense within his subsequent CCE prosecution, that conviction would have nonetheless withstood
the B!ockbarger ~ Alhemaz ‘“saine elements test” because Congress created a compound offense,
that required a "‘continuing series” of substantive violations of other sections of Title Zi, which
were punishable in addition to the lesser»included conspiracy offenses that are relied upon to prove
the “in concert” with five or more persons element” of the CC.E charge However, the same is not
true with respect to the lesser included conspiracy offenses relied upon to prove the CCE offense:

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"‘The policy reasons usually offered to justify separate'punishment of conspiracies and underlying
substantive offenses, however, are inapplicable to §§ 846 and 848.” ld. Je)j‘ers, at 432 US 156-157,
53 L.Ed.Zd at 183-184. See clso, Unired Srczr.“cs v. Singleron, i77 F. Supp. 2d iZ (D.D.C. 2001)
Where the Court noted; “This case is like Rnriedge not like Gcn'rerr because defendant Singieton was
not convicted of narcotics distribution or narcotics importation in Fiorida, but of narcotics
conspiracy ”Id. at 29;_and United Sraz‘es v. Felix, 503 US 378-390, 118 L.Ed.Zd at 25, 112 S. Ct.
1377 (1992), allowing prosecution for conspiracy after petitioner Was convicted of underlying
substantive offense, and citing Gczrir*err as a similar case. Stating that:__ “[L}ong antedating any of
these cases and not questioned in any of them, is the general rule that a substantive criine, and a
conspiracy to commit that crime, are not the same offense for double jeopardy purposes,” Ia". i18
L.Ed.?.d at 36. Ftuthermoi'e, the Court declined to even entertain Clarrett"s contention that his
marijuana importation conviction Was a lesser included offense [which it clearly was not} of the
subsequent C.C`E conviction Pointing out that: “[h]owever, We vvere to resolve Garrett"s lesser»
inciuded~oi`fense argument One Who insist that the music stop and the piper be paid at a particular `
point must at least have stopped dancing himself before lie may seek such an accounting . .ln the
present case, as in Diaz, the continuing crir_ninai enterprise charged against Garrett in Florida had
not been completed at the time that he Was indicted m Wasliington. ” Id. 471 US at 790 791 85
L. Ed 2d at 778- 779 Every crime charged in Porter s CCE piosecution, Was completed and known
to the government over two years prior to Porter’ s “i`irst” conspiracy prosecution in the l\/_liddle
earner er norma ` `
Nov~/here in Garreli or Felix does the Court even impiy that the Blockhurger “saine eiein.ents”
test does not apply to complex conspiracy cases and the substantive offenses upon Wiiich those
crimes are predicated ln fact, just the opposite is nue, because Feiix itseit relies on Blocl<:burger:
“at its root, the Douhle Jeopardy Clause iorbids the duplicative prosecution of a defendant for the
"saine oftense"’. U S Const 5; see Blockbwger ’ `(c-itations ontitted) (_ernphasis in original). Id.
li8 L.Ed.Zd 33. Whether conspiracy and CCE Were the same offense Was not an issue before the
Court in Gnrrez‘r. However_, it was apparent to the Court they were the same ofi`ense because the
Court did hold that cumulative penalties couid nor be imposed for the two crimes See, s,g. Um'rea.'
Srnlc,s' v. Reed, 880 F.Zd l568- (i lth Cir. 1993), Where the court noted: “"`ln Gczrretr, the Court held
that a CC`E conviction may he based on predicate acts involving substantive crimes for Which tire
defendant had aiready been prosecuted This holding was based entire dissimilarity of the elements
required to prove a CCE versus those required to prove a substantive crirne. Garrerr does not
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address the 1ssue of a CCE prosecution based on the predicate act of drug conspiracy, an act similar
to CCE, involvin,;¢l,r many of the same elements as CCE. 'l`he Garretr Court specifically noted that a
CCE offense 1s not the “saine” as a substantive offense, because a CCE offense unlike a` substantive
drug offense, requires proof that the defendant acted “in concert” with five other people jul at 786,
105 S. Ct. at 2415. Quite similariy, a conspiracy conviction also requires proof of an agreement,
unlike a conviction for a substantive offense _ln fact, the Supreme_ Court expressly noted “the_
conceptual closeness” of sections 846...and 848 (CCE) in Jey§"ers v. Unirecl Smtes', 432 US 137, 145
n. 11, 97 S. Ct. 2207, 2213 n. il, 53 »l,-.Ed.?.d 168 (1977)`. Because of this “closeness” between
conspiracies and CCE’s, we must evaluate further Whether double jeopardy bars a CCE prosecution
n based upon a previous drug-conspiracy conviction.” (einphasis in original) Id. at 1575...Tlie
Supreine Court has indicated and the Eleventh Circuit has held that drug conspiracy, as defined by
21 U.S.C. § 846 or § 963, is a lesser included offense of CCE, and that it is a violation of double
jeopardy to prosecute a defendant for the greater offense of CCE following a conviction of the
lesser included_offense of conspiracy.” Id. at 1575»1576. Furtherrnore, both Cole an Crcshy, are in
direct conflict With Rurlec’ge itself,» and both Sz`ngleton and Ree'ci..Cf. e.g. Sz'ngleron Where the court
noted that: “The Court in Rurledge specifically addressed the question Whether its decision there
conflicted in any Way With its earlier decision in Garrett and concluded that it did not.” ]d. 177
r.supp.zd a 29. `

in 1981, only four years prior to Gctr'rett, the Court applied the Blockburger test to a multi-
object drug'conspiracy in AIbernaz-v. Um.'red Srares, 450 U`S 333, 101 S. Ct. 1137, 67 L.Ed.2d 275.
There_._ the Court approved consecutive sentences for conspiracy under 21 U.S.C. § 963 to import
marijuana and a conspiracy under 21 U.S.C. § 846 to distribute the same marijuana The Court
acknowledged that: “[t]he Court’s application of the [Blockburger] test focuses on the elements of
the offense ” let 450 US at 337 101 S. Ct. 1141. And not to the conspiracies that are actually
charged l'd. lhe Court distinguished Blczvelmczn v. Unz`ted Smres 317 US 49 63 S. Ct. 99 87
L. Ed. 2d 23 (1942`), on the basis that in Brnvcr~_,man both purported offenses Were violations of the
same statute A[z')ernaz, 450 US at 339-340, 101 S. Ct. at 1142~1143. 'i`he Court further pointed out
that vvhen Congress had created two separate offenses that applied to a single inulti»-object drug
conspiracy, the proper question vvas Whether Congress intended that separate punishments be
imposed for each offense.” Id. 450 US at 337, 101 S. Ct. at 1141. ln the absence of an expressed

indication of congressional intent, the Court applied the Blockburger test and concluded that under

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Blockburger, Congress deemed to have intended muitipie punishments if each offense required
proof of a fact the other does not.” Id. 284 US at 304, 52 S. Ct. at 182.`

ln Albcrnaz, the Blockburger test was satisfied because the two conspiracy statutes themselves
specified different objects of the conspiracy Section 846 made it a crime to conspire “to commit
any offense defined in this subchapter.” Section 846 is part of Subchapter l-C.ontroi and
Enforcement-of Chapter 13 of fide 21-U.S. Code. Section 963 simiiarly made ita crime to conspire
“to commit any offense defined in this subchapter, “but it is part of Subchapter ll-l.mport and 1 1
EXport-of the same chapter. Thus the conviction under each section requires proof of a fact not
required for conviction under the other: section 846 requires proof of a crime defined in_ Subchapter
l and section 963 requires proof of a crime defined in Subchapter ll. Therefore`, the-Court held`that
the imposition of consecutive sentences did not violate the D_oubie .l`.eopardy Clause, because _
Congress intended separate punishments be imposed because each statute required different
elements of proof

l`t is an entirely different matter when one such as in Porter’s case is prosecuted “first” for
vvhat the government itself described as the “last” of a “continuing series” of “conspiracy predicate ‘
acts”»receives lO-years for those crimes, and then~is subsequently prosecuted again for the exact
same crime by the government reiying upon that conspiracy conviction: as one of the “continuing
series"’ of“CCE predicate oHenses” and then is sentenced to a consecutive 75-year sentence for the
subsequent CCE conviction That statute is also part of Subchapter l, but it makes it a crime to
conspire to commit any felony offense defined in either Subchapter l or Subchapter ll of Chapter
, 13. Therefore, any conspiracy offense defined in either Subchapter l or li, is a lesser included
offense of the CCE offense defined in § 848, because of the “in concert requireinent” in §

848(c)(2)(A):

1 Sect.ion 848(0) provides:

(c) ‘Continuing Criminal Enteiprise’ defined “For
purposes of subsection (a) of this section, a person is
engaged in a continuing criminal enterprise if»

‘“(l) he violates any provision of this subchapter or
subchapter il of this chapter the punishment for vvhich is a
felony, and

(2`)l Such a violation is a part of a continuing series of
violations of this subchapter or subchapter ll of this
Chapter~

(_A) Which are undertaken by such person in concert with
five or more other persons With respect to Whom such

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person occupies a position of organizer, a supervisory
position, or any other position of nianagernent, and

(`B) from Which such person obtains substantial income or
resources.”

Id. 21 U.S.C. § 848, The language of section 848 restricts the definition of the crime to a continuing
series ot` violations as opposed to isolated and disconnected acts that are not part ot` the “continuing
series” of substantive predicate offenses that must be undertaken by the accused °‘in concert” with
five or more other persons, rather than the normal two person conspiracy defined in sections 846
and 963. See e.g., United Stafes v. McHan, 101 F.Ed 1027 (4§¥_ Cir. i996) (_Circuit Judge K.K. liall'l
concurring in part and dissenting in part) “‘First as l stated above, it is an odd paradox that a
continuing agreement lcouid be composed of dis`creteg discontniuous”"`sub agi'eeinents.` As` Rutleclge
inal<es clear once and for ali, a CCE is simply a conspiracy With certain aggravating characteristics
and conviction Without those characteristics is unconstitutional “Id. lOl F.Sd at 1044.
ln Rz¢rleo'ga, the defendant had been convicted of engaging in a continuing criminal enterprise
` by acting “in concert” With others to distribute cocaine in violation of 2i U.S.C. § 848. l~le had also
been convicted of conspiracy, in violation of 2i U.S.C. § 846, on the basis ot` the saine agreement
lie vvas given conctu‘rent sentences on the two convictions Because the same act violated two
distinct provisions of Title 2l U.S. Code_, a unanimous Court concluded that because the “in
coneeit” element ot` the continuing criminal enterprise statute required the same proof ot` agreement
required by the conspiracy statute[s], the two offenses could not support multiple punishments i'd.
517 US at 301, 134 L.Ed.fld at 438. The conspiracy statute required the proof of no fact in addition
to the facts required to prove engagement in a continuing crinn"nai enterprise j`d. The Blockburger
assumption against multiple punishments controlled, because Congress had not clearly indicated
that it intended multiple punishments The inere fact that the conspiracy violated two distinct
provisions vvas not enough to show congressional intent, M, 5l7 US at 304, 134 L.Ed.Zd at 430 n.
14, nor could it be assumed that C-ongress intended to permit two convictions so that one could hach
up tire other in case ot` reversal ot` one conviction ]d. 517 US at 305, 134 L.Ed..?,d at 430~43§. lite
two otienscs carne out the same under the Blockbnrgcr test, and not because Rnrledge Was not a
successive prosecution case as the court stated in Cole.
in upholding Garrett’s subsequent CCE conviction the Conrt in addition to applying the Dicr.r

exception announced a two~step analysis for determining whether successive prosecutions

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constitute a double jeopardy violation “First a court must ask Whether Congress intended that each
violation be a separate offense." Id. 47i US at "778', 105 S. Ct. 2411. In Je]_jfers the Court pointed out
that Congres`s did not contend that conspiracy and CCE were different offenses “'l.`he actual
language oi:` the hili, however, used the vvords “in concert wit ” to cover both concerted action and
conspiracy Id, at 221. Thus it is apparent that the Senate understood the term ‘in concert" to
encompass the concept'of agreenient.” Id, 432 US at 149 n. 14, 53 L.Ed. 2d at 179 n. 14. “Secoud, if
Congress intended separate prosecutions, a court must then determine Whether the relevant offenses
{§§ 846 and 848] constitute the ‘saine offense’ within the meaning ot` the Double .leopardy Clause.”
lai 471 US at 786, 105 S. Ct. 2415. Obviously, Congress cannot enact laws that violate the
protections guaranteed by the Pifth An'iendinent’s Doubie Jeopardy Clause or the Court’s "‘second”
requirement Wou`;;=.d not have been necessary.~

The significance ot` the Court’s holding in Rurledge that conspiracy and CCE Were the same
offense, 'When compared to the Cole and Cro,rby court’s theory, is that every member of the Court
agreed that the usual double jeopardy principles applied in CCE conspiracy prosecutions ~»
including at that time Chiei` lustice Rehnquist ero Was also part of the four justice plurality in
Jejj"ers, that rejected the governments argument that the usual jeopardy principles should not apply
to complex crimes - authored both opinions for the Court in Garrert and Felix, Wrote the opinion in
silbermch v. Untz‘ed Smres, vvhich Was also a niulti~object drug conspiracy case and not one time
does Chiei" .lustice Rehnquist even imply that the Bloc!cburger rule does not apply in complex
conspiracy prosecutions and only 310-months after the Court°s opinion in Feiix ~ Chief .l`ustice
Rehnquist agreed Witli a five justice majority in Uniz'ea' States v. Dixorz, that the °‘saine eleinents”
test referred to as the Blockburger test, alone Was the appropriate inquiry for determining Wiiether a
subsequent prosecution or cumulative punishment Were barred by the Douhle leopardy Clause. Still
and iii-spite of tlie combined lessons of the Court in Jef]%rs, Gcrrrerr, and Rutledge, that double
jeopardy barred cumulative punishment and successive prosecutions for greater and lesser included
ot`fenses, the Cole and Cro'sby courts cite Rurledge, Garretr and Felix, for the position that they
Would require courts to disregard the Blockburger rule and aliovv successive prosecutions and
cumulative punishments t`or all greater and lesser-included offenses, as long as they were
prosecuted in successive proceedings i‘lndeed, it Was only in the sitnultaneous~prosecution context
that the Court in Rufledge found a double jeopardy vioiation. 'i`he Court ended its opinion by so
limiting the scope oi`its liolding."` Icl. 293 F.Bd at lGl. L"Coie is...correct that a § 846 conspiracy is a
lesser included offense of a CCE...He is also accurate...the predicate oi`t`enses...in Gcrrrer.‘r and

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Felz‘x vvere substantive...But these are distinctions Witliout a difference...'i`hat is because Rutledge
Was not a successive prosecution case ” Id. 293 lz 3d at 160. That cannot be the iaw. Ftn“therniore.
both Co]e and C1 osby contradict an unbroken line of Supreme Court decisions and contains less
than accurate historical analysis quoting suspect dictum 111 Garrert and Felz`x multiple times cannot
convert it into case law. The holding of Brown, like that of Jeyj'"ers, Garretr, Schmuck, Dz`xon, and
Rurledge, rests squarely upon the existence of a lesser included offense in B_rown, the Court stated
unambiguously that “Whatever the sequence may be the Fifth Arnendnient forbids successive
prosecutions and cumulative punishments for a greater and lesser included offense.” [d. 432 US at
169_. 53 L.Ed.2d at 196; Jeffer's: “Brown` v. Ohio...de`cided today, establishes the general rule that
tl1e Double ieopardy Clause prohibits a state or Federal Governinent from trying a defendant for a
g1eater offense after it has convicted him ot`- a iesser included offense... ” fci 432 US at 150 53
L.E.d.Zd at 180; Gorrerr: “This rule applies to complex crimes The C.CE offense proscribed by §
848 is clearly such a crinie."’ Id. 471 UA at 802-803, 85 L.Ed.?.d at 787; Dz`xon: “[f]or purposes of
the D.ouble jeopardy Clause, the text of Which looks to Whether the offenses are the same, not the
interests that the offense violate...l?>ecause Dixon"s drug offense, did not include any element not
contained in his previous contempt -offense, his subsequent prosecution violates the Double
l Jeopaidy Clause. ” id 125 L Ed. 2d at 570; and 111 Ru1ledge the Court also rejected the government s
argument that Congress intended multiple convictions for conspiracy and CCE: “We find the
argument unpersuasive tor there is no reason Why this pair of greater and lesser offenses should
present any novel problem beyond that posed by any other greater and lesser included offense, for
which the courts have already developed rules to avoid the perceived danger.” Id. 517 US at 305-
306, 134 sears 31110»431.

in 1989, only four years after Gcr.rrerr, ChiefJustice-Rehnquist joined a five justice majority in
Schrmrt'k v. Unz`red Srures, 489 US 705_, 103 L.Ed.2d 734, 109 S. Ct. 1443, and again, clarified for
the sixth consecutive time than “Since offenses are statutorily defined that comparison is
appropriately conducted by reference to the statutory elements of the offense in question.. and
not.. .by refe1ence to the conduct proved at trial.. .the language of Ruie Bl(c) speal<;s of the inclusion
of the lesser offense` 111 the greatei.” (einphasis in original) l`d. 489 US at 716- 717, 103 L. Ed 2d at
746-747. -’fhe Court further noted that: "‘"fhese new lawyers of analysis add to the uncertainty of the
propriety of an instruction in a particular case: not only are there more issues to be resolved, but
correct resolution involves questions of degree and judgment With the attendant probability that the
trial and appellate courts may differ.” fail 489 US at 721, 103 L.Ed.2d at 749.

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insofar as the notion that Garrert and Felix have supplanted the Blockburger “sanie elements" '
test vvith a novel multilayered conduct test” vvas also rejected in Garrett: “'l`he Double Jeopardy
Clause prohibits a state or Federal Government from trying a defendant for a greater offense after it
has convicted him oi a lesser included offense This rule applies to complex crimes fha CCE
offense proscribed by 848 is clearly such crime ” Id. 47?1 US at 802- 803 85 L. Ed. 2d at 787

Althcugh'the Court has explained that: the rules established in Brown v. Ohio, Je[}%ers, and
Garretr, does have certain exceptions See, Brown: “An exception may exist Where the state is
unable to proceed on the more serious charge at the outset because the additional facts necessary to
sustain that charge have not occurred or have not been discovered despite the exercise of due
diligence ” jd. 432 U`S at 168 11.7;- and Jeffer's: “[a]lthough a defendant _is normally entitled to have
' charges on a greater and lesser offense resolved in one proceeding there is no violation of the-,,_
Double leopardy Clause When he elects to have the two offenses tried separately and persuades the
trial cdurt tohonor his election.” Id. 432 US 152, 53 L.Ed.Zd at 181: “[h]e vvas solely responsible
for the successive prosecutions for the conspiracy offense and the containing-criminal enterprise.”
fall 432 US at 154, 53 L._Ed.ild at l82. and Garretr: l“[t]he Government’s evidence With respect to
the CCl-I charge included acts Which took place after h/iar_ch 1981, the date of the Washington
indictment, and up to and including luly l98l Therefore, the continuing criminal enterprise
charged by the Governnient had not been completed at the time of the Washington indictment Was
returned, and under the Diaz rule ~ evidence of the Neah Bay importation might be used to show
one of the predicate offenses.” jul 471 US at 792-793,_ 85 L.Ed.£d at 780. Not one of the above
recognized exceptions are present in Porter’s case »- not one!

Aithough, some of the cases referred to here involve successive prosecutions rather than
multiple punishment, vvhich is Porter’s only concern, due to the fact that Old haw Rule 35 only
allows Porter to attack his illegal sentence The problem is that if Cole and Cro.s'by allows
successive prosecutions for conspiracy and CCE - they necessarily vvill allow separate punishments
to be imposed A.nyway, the Supieme Court has made clear that the “same offense” analysis is
imaffected by whether the case involves multiple punislnnent or successive prosecutions lt is well
settled that: ‘ln both the multiple punishment and multiple prosecution contexts, this Court has
concluded that Where the two offenses-for Which the defendant is punished or tried cannot survive
the ‘same eieinents’ t.est, the double jeopardy bar applies See e.g., Brown v. O!rt'o...,
B[ock})urger...(multiple ptuiishrnents); Gavieres v. Unired Stares..-.-, (successive prosecutions). line
sanre»elenients test, inquires whether each offense contains an element not contained in the other; if

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not, they are the ‘sarne offense’ and double jeopardy bars additional punishment and successive
prosecution.” (citations omitted) Id. Dixon, at 125 L.Ed.Zd 568.

111 Jones v. Thomas, 4911US 376: 105 L.Ed.?d 322, 109l S. Ct. 2522 (1989), the Court
explained: "‘With technical ruies, above all other it is imperative that We adhere strictly to vvhat We-
have stated the rules to be. A technical rule vvith eqnitable exceptions is no ruie at ail.” Icl. 491 US at
1 396, 105 L.Ed.Zd' at 341. Stare decisis require that similar situated defendants.be._treated_the same _

The Blockbw gai rule is straightforward “[h]as deep historical roots and has been expected in
numerous precedents oi` this Conrt. The same conduct rule. .[Cole and Crosby announced] is
Whoily inconsistent With earlier Supreine Court piecedent and With the clear coinrnon-lavv
understanding of double jeopardy."’ Id. Dz`xon, 125 L.Eci.Zd at 673.

Furthenn-; ire', a departure frorn~the Blockburger ruie is not justified by the mere fact `tliat‘two
courts of appeal has suggested otherwise "Since offenses are statutoriiy defined that comparison is _
appropriately conducted by reference to the statutoiy elements of the oftense in question .’!d
l Schnmck v. Uniteci Smtes 489 US at 716,103 L. Ed 2d at 746. And not to the conduct proved at
trial

Porter is aware ot` only two cases,' Where as here, the court had no power to effect over the
lesser included CCE conspiracy predicate offense And, in both cases the court held that since they
7 had no jurisdiction over the previously prosecuted conspiracy, the Coui't’s holding in Bcz[l required
them to vacate the sentence for the subsequent CCE conviction and in one of those cases, the court
vacated both the sentence and conviction: ‘“`We have no jnrisdiction, however, to vacate a
conspiracy sentence imposed in an earlier, completely different prosecution Conseqnently, We
reserve Reed’s CCEr conviction and sentence because We have jurisdiction over these charges only.”
fri Uniz/ecl S'raf.e v Reed 980 F 2d at 1581; Unz`!ed Stcife,s v. Gmyson, 795 F 2d 278 (3ard Cir. 1986)
"Given that Grayson’s conspiracy conviction is in the District ot` Matyland, the district here cannot
impose a general sentence on the CCE count and the Maryland conspiracy conviction N_or can the
court vacate the Maryland conspiracy convictionl Moreover_. the district court cannot allow the CCE
sentence to run concurrently with the conspiracy sentence 111 Ball v. Unt`red Srares, 470 US 856,
105' S. Ct. 1668, 16'73, 85 L.Ed.Zd 740 (1985`), the Court held that once it is determined that

Congress did not intended to punish two offenses cninulatively:

lite only remedy consistent vvitli Congiessional intent is
for the district court vvhere the sentencimv responsibility

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resides, to exercise its discretion to vacate...the
underlying convictions [or sentences]. The remedy of
ordering one of the sentences to be served concurrently
with the other cannot be squared with Congress intention

Id. 795 131de at.288 (ernphasis in original). Accordingly, not only Was Porter’s 75~year sentence for

CCE illegal When .it.was imposed according to the Court’s holding_in_Ball, the Court had already `_ _ _

held in both Jej]`”ers and Ga:'rett that the Doubie leopardy Clause barred cumulative punishment
front being imposed vvhere two statutory provisions describe the same offense See Um`tecl States v.
Porz‘er, 821 F.Zd 968, 978 (4‘“ Cir. 1987) (“We agree With Porter...Congress did not intend that an
individual se punished wider both § 846 teensph-acy)` ana § 348 amending seminal enterpt-tse).
United.t$’tulies. [s-i'c] v..- Garrezt, supra;.¢ Jejj‘eas', supra.”) See_ also, U)fzit‘e_d,Stcztes v. Buz§__ler, 885 `F.Qd
195 (flsh Cir. 1989) where the court cited it’s holding in Porrer as representing the following °‘A
defendant convicted under § 848 may not also be convicted for any predicate conspiracy charges
proved as elements of the § 848 offense.” Id. 885 F.?,d at 202. Apparently, the court in neither
Por'rer nor Bn.tler Were aware that just the opposite Was true in Porter’s case: “'l`his conspiracy went
up through and until the sting And he [Porter]-has plead guilty to it, and we ’re relying on that
conviction as one of the predicate ojj%nses. " l`d. Trial 'l`ranscript, W.D.N.C. Vol. 8 page 59. And
that Porter is serving consecutive sentences for the Florida conspiracy conviction and subsequent
CCE conviction,-see Exhz'bfl' B. Furthertnore, the Fourth Circuit also found: “The criine charged in
Florida was the lost of the series of crimes...on vvlzich the government relied to prove that Porter

engaged in a criminal [sic] continuing enterprise . .” jul 821 F.Zd at 978

CONCLUSION

'fhere is no case to distinguish Porter’s case froni, because no couzt, under no circumstances,
has ever allowed consecutive sentences to be imposed for CCE and its underlying conspiracy
predicate offenses Furtherrnore, the court held in Porfer itself that both .fejers and Gurrert barred
even concurrent sentences for the “first” of the alleged “continuing series of conspiracy predicate
offenses Therefore, they cannot also hold that Porter could have a consecutive sentence for the

"‘last.” That Wouid be the equivalent of the Co_urt’s statement in Dz`xon: ?hat is because it is

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embarrassing to assert that Witat is the same offense, is yet not the same offense, just because the

two offenses are prosecuted in successive proceedings

segments atomist this 2“‘§ day arises 2011 by;

Wayne Porter, Petitioner (pro se) n -

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Exhibits

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Case 3:14-cv-00373-RLV Document_Z Filed 07/28/11 Page 54 of 64

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Exhibifs

Case 3:14-cv-00373-RLV Document 2 Filed 07/28/11 Page 57 of 64

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institution . ‘ , Daic:;

if you have a presumptive parole dalc, any IIJC actions referred to in this report wm be considered by the U.S. Parolc Cmmuissio;\ 35 a
basis for possible rescission gaf your parole du!c. ”r'ou may present documentary evidence (inclu¢liug voiun€ary statements of witm_assés)
in mitigation of` your miscomluct, and you may request to rcv!c`w all disclpsablc documents lf\at wiH be tonsidcrcd by the Commi;§sion.

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POR'I`ER, Wayne 00622-043 (C) 35 {01-22-50) n

 

 

 

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5. Uffcr\xc:
Conspiracy to Impc)r‘t Mar‘ijuarm; £’ossessi.on with latent l',r) Distz‘ibul;e Mar'i_}uana\; Use of 3
Facility to Facilitate the Commission of Cons iracy;Continuig§h€riminal Enterprise; ConL

 

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_ NOA dated _03-»21-8` with P.P. 12~22-56

0/0 03~0?-2028 not applicable, since serving ?5 Yé§re¢

n CCE¢ ':.

H. Dctaincrs]f‘cnding Cl::ngcs: - l . _ ___M.;

There are no detainers or pending charges.

 

15. Co~dcfcndaur.s:

There were no known co-defendants.

 

 

 

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‘ Paro!c Commission Region:\l Office, Iumafe 4
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UNiTED STATES DEPARTMENT OF JUSTICE
BUREAU OF FNSONS

» 1 Paoonzss REPoRT

 

16.

¥B.

 

{c¢:n£lnuad}
Name; ?ORTER, Wayne ' Reyswr Numter: OO&ZZ»OAB-(C) Dme: 03*95“86
Summary of Prior progress Reports: Porter s only prior progress report was completed

 

on 07 29 85 at FCI, Lexington, Ky. while thore, he
satisfied all mandatory ABE requirements and enrolled in the GED studies. His work reports
showed steady improvement onco ne receivoo a Joo cnange to orderly. Ho maintained a fav~
orable relationshio with staff. Porter maintained clear conduct, ` `

New InFormation: On Novenber 6, 1985, Porter received an additional ?5 year oentence from

the Hostern District of North Carolina. This sentence is a 21-848-
Continuing Criminal Entorprise sentence, thus non~parolable. with his prior sentence,
Porter has a total of 79 years, with a projected satisfaction date of 03 07 2028 via

Mandatory Release.‘

Institutional Aojostmont:

a. Program Plan: At Mr.nPorter's initial classification} he was programmed for GED,
Vocational participation, He was aonignod to a job in the Power Plant.

He requested a job in the Hecroation Department.

b. work Assfgnments: ` Porter's work evaluations from the PowerlPlant have reflected
marginal performanco. However, he hon received outstanding

evaluations from his Educatlon supervisors.

c. Educational/Vocationol Participation: Portor is participating in the GED program.
He enrolled in the program November 18, 1985

and continued his involvement to this timo. He has received outstanding evaluations
from the-Education Dopartment.

d. Relationship with Staff: _Porter maintains a positive relationship with Staff. He
- always approaches staff in a polite and courteoua manner.
( f
e. Incident Reports: Porter is not seen as a management problem. He has maintained
clear conduct since being in federal custody.

 

f. Commonity Program Involvement§ Porter has not participated in any community programs;

 

g. lnstitutional Movement:' Porter was designated to FCI, Lexington and arrived there
Auguot 6, ¥964. He was redesignated to FCI, Ashland, Kentuck§

while on Writ. Ho arrived at this institution on 11-18»85 and has remained here s;nce
that time.

 

ho PhysicalfMontal-Health: Portor reports ne suffered a heart attack in 1980 or 1981.
He`was not under a doctors care nor was he receiving any

medication prior to his incarceration. There is no indication that no suffers From
any significant health problems at the present time. Porter does not seem to be
suffering From any psychological, mental, or emotional proolems. Ho appears to be

functioning within tha realm of acceptable behavior.
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_ UNLTED SYATES DEPARTMENT OF JUST!CE
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Nam€‘: PORTER¢ Wayne Register Number; 00622-043 {C} Date: 03_95“35 '

19. Release Plannning:

a. Residence: To be secured through CTC in the wilkesboro, worth Carolina area.

b. Employment: To be secured.

c. usPo= ` E. nugh narcin, P o. sex 177, 218 renewal suiiding, 207 west sain street,
wilkesboro, NC 28697.

Dictated by: ,<<§E;;§H,» Date dictated: 03~06-86

M. L. Lyéns, Case Manager

Reviewed bt= Aé§§;k§?¢a;ké%§j date reviewed; ji~£;»dz§

Paul Helo, Unit Manager

 

Date typed: 03~06~86

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Case 3: 14- -c\/- -003_73- RLV Document 2 Filed 07/28/11 Page 60 of 64

 

Exhibits

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- "jLL...».~..;.,..................~._.: _.a...._,......_»`-\.* _________________'______`_____~____;_; ‘l _ES_§I;§B.~N-.~~ leQ“'¥.-»Q§‘ NOR'I*H CAROLINA
.£.`UA_|¢'¥ - _ ` EI_MLO] DIVISION----_--...._...._....____________
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the defendant apoeared in person on this da£e ` l
November 6, 195

 

DUNSEL ~>L__...._...[ \-N’[THOUT COUNS£I. E'!nwrvrr zh¢- court ariri<;-d dr[r-nr¥an! of righl !o counsel and aske~d`“|u.*.‘.'; ri t¢l_»_l.~h'. -.Dm p;

. rounw|armninlr‘dlwthr:rounandEhc~drfendanlfhareup;m“a“.edassis, , ' .l C
j'c'_`§._i mm counsn ;___ Harold J. Bender, retained CHARLUTTE: N- -

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c VY.[HST.[KFYQ b
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L....___.| NO'f GUILT\’. Defcndan% is discharged .
Ther? being elledf§`§".'erdiciof '
_ LLX_JGuHJY. by the jury as to counts 1,2,4,7,8,16~19,24-29 d
De{endanz has been convicted as charged of the offense(s] of the indi€tf
Consoiracy to possess & distribute more then 1000 lbs of marijuana, a Scbedule l non»
narcotic controlled substance, & 2 million methaqualone tablets, a Scbedule ll non~nz
tic controlled substance, in viol. of 21 USC Section 846, as charged in count l; .
sion with intent to distribute more than 1000 lbs of marijuana & aiding 6 abetting ii
same, in viol. of 21 USC Section Bél(a)(l) d 18 USC Section 2, as charged in count 2;
l possession with intent to distribute methaqualone & aiding & abetting in the same, b
of 21 USC Section 841(a)(1) & 18 USC Section 2, as charged in count 4; distribution v
*"““`\ moranch anoo., issued seminars dc essential stat sine gin...ths..¢$ses,., is attain <9.£. %».IJ$.C.-..f

nat sho\\n. or appealed €o rbr» court !hr conn ed;ud;~~d the defendant point as charged and com-c ted and o:drwd mar Thr,- d¢'f--.'~d`v;
hereto corn I'n*!led lo ins cus%od'\ of lhr Nzo'n¢.»~. C.erv-ra| m bus au%hon:pd rrpre~sen!alevr for im`;vv-onm¢>nc foz .“¢ passed nf

w Sél(a) i) d 18 USC Section 2, as char ed in count 7; trave inc in interstate commerm
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g . promote an illegal activity, in viol. of 18 USC Section 1952, as charged in counts 8
iywp ? and 25; conspiracy to import, possess & distribute more than 1000 lbs of marijuana a
§§ of cocaine, a Schedule ll narcotic controlled substance, in viol. of 21 USC Sectionf
as charged in count 16; conspiracy to possess s distribute more than 1000 lbs of man
in viol. of 21 USC Section 846, as charged in counts 18 & 2é; conspiracy to possess€
distribute marijuana, in viol. of 21 USC Section 846} as charged in count 19; usinga
communication facility in the commission of a felony drug offense, in viol. of Zl'US
:ML Section 843(b), as charged in counts 26~29; and engaging in a continuing crininal

me entarprise, in viol. of 21 USC Section 848, as charged in count 3d of the indictment

IXHG &
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ims -
Counts 10“1§ and 21»23 dismissed by the Court per Order of lG~l?~BSl
Counts 3, 5 and 6 dismissed by the Court'on 10»23-85.

(continued on next page)

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'ROBE§?‘PS§.`§PJ€§I'WP'{L,N€H§_?" udgeu"w'""“lovember 63 1985 l g 65

 

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,LEA .t t,...__..J GlUILTY, andthe court being satisfied that I_,.,..t__tNOLO CONTENDERE, L_.__INOTVGU|LTY

f there is a fsc!ua|'basis for the prea,

` t_,_h__t NOT C`,UILTY. Defeodant is discharged
lThe,'e being a finding."verdict of

L;_m.t GU!ETY.

De;e;tdent has been convicted as charged of the offense{s} of
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n (continued from page l)

“ Tht' court aslc‘d whether defendant had northrop to sa\ nhv judgment shc»uir} not he pronounced B~ransr- nn sufht ionl canal to thr' m'-.:r.¢

user shcmrt. 'or appeared to thc court thc4 court ad;udrzr-d the defendant gurlt\' as charg"d and cor\\rctz~d and ordered that Tht- dt'fr.-nder'.‘
hereby commuted tc the custody of the Attornet Cenera' or has authortzed representative for imtrrlsonment for a period of
)

CE Count 34: SEVENTY~FIVE (75) YEARS.

*ymH F Sentences imposed in all of
fn imposed in count 34:

Count lt FIF'I'EEN (15) YEARS;

Counts 2 and 7 merged for sentencing: FIFTEEN (15) YEARS,
sentence imposed in count 1;

ML Count &: FIVE (5) YEARS, to run consecuti

the following counts are to run concurrent with the sentc

to run consecutive with th

ve with the sentence imposed in co ots 2 en

.mHS §glplus a four (é} year mendetofy special parole term due to a prior convi tidh;£gtums
Cdunts 8, 17 end 25 merged for sentencing: FIVE (5) YEARS, to run consecutive with t
TwR sentence imposed in count d w `

count 16=~ express (15) YEARS§
`17 and 25; `

Count 182 FIFT£EN (15) YEARS, to run consecutive with the sentence imposed in count
' : ' ' S to r ut ve with the
-‘U'.[ EFF¢WOE}H}§*'S H-‘lg\t'§HE!|H?§:"?|[§SF£§~E<§ t)f£t$?¢§!rr§\e:£zl!g;x§pp§ %Rg¢- lt §;ty£l:\;t§r?lo‘:z:§{}§! f!};i'~ t:rr\t‘t;H`?crrSl%Hv§%etS-%l frrti»§,¢.r:nm \1~: tmt pr |l~.
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r`Th¢~ court rr'r.tr.#rs rotnnntn:r~nt to th¢' rudoth of rhr\ .e,:rr)rn€-\, Csr\r¢rsf and recommends
‘sentence imposed in count 18; a gunwdrom w mu;vk*wr
Counts 26, 27, 28 end 29 merged for sentencing: FOUR (Q) YE S§ifisd"iombe'd"trnehhhd

to run concurrent with sentences imposed in counts 1,2,¢§ W£EH¢HY§HH¥Y£E&HLL;B;
7,8,16,17,18,19,24 end 25. U. S. Dlstrtct Court

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» Ekcnns J. HoGren, Clcr
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sentences ooMse/;O@§Z§r h\égego§§,m§s_sge_@_b_§_;___a, 1985 , ~~\§){t 3 \t§&` -

CERTIFICATE OF SERVICE

I, Wayne' Portcr, the undersigncd, hereby certify that one copy cf Port`cr’S Motion to Amcnd and for
Adjudication of his Rule 35 Motion, and attached Exhibi‘ss, Was mailed first class pos€age prc-paid

to the §ollowing:

larry W. Miller
Assistant Uniteé States Attc)mey
Room 221, 401 West Trade Strcct
Charlotte, North Carolina 28202

This., the 211d day cf Junc, 201§.

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W`aync Pc)rtcr, Pctitioner (prc se)
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FEDERAL CORRECTIONAL COMPLEX
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A-dclamc_, C.A. 9230?,

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